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Iran Human Rights Documentation Center

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To investigate and document human rights abuses in Iran;

To raise international awareness of human rights violations in Iran and bring pressure to bear on the
Iranian government to end these abuses;

To raise local awareness of human rights violations and international human rights standards inside Iran;

To establish an online archive of human rights documents that can one day be used to develop and
support a reckoning process in Iran.

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at http://iranews.biz/.
The image of Siamak Pourzand on the back cover is taken from Mr. Pourzand’s televised confession and
was obtained from the Iranian Student News Agency, ISNA, at http://isna.ir/isna/PicView.aspx?Pic=Pic-
143558-1&Lang=P.
Photographs used throughout the report were obtained from Lily Pourzand and from ISNA’s website.




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         Mockery of Justice:
   The Framing of Siamak Pourzand




 Iran Human Rights Documentation
             Center




                         August 2008
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1. Introduction
This report documents the abduction and trial of Siamak Pourzand, a seventy-year-old journalist
who was held in a number of illegal detention facilities during President Khatami’s second term
in office (2001-2005). During the reform era, the conservative clerical establishment headed by
Supreme Leader Ayatollah Ali Khamenei continued to exercise great influence over Iranian
public life through a network of agencies and institutions that operated in parallel to the official
state. Mr. Pourzand was a victim of this system.

Siamak Pourzand’s case is particularly significant as it was leveraged by the conservative
establishment to push back against journalists promoting the reform movement. This surprisingly
well-documented case provides valuable insights into an ordeal to which many other opposition
and dissident figures were also subjected. It demonstrates in compelling detail the degree to
which the rule of law has been subverted in Iran by members of the clerical establishment.

In pursuing Siamak Pourzand, the conservative establishment flouted both the rules and
procedures of the Iranian judicial system and international human rights standards. Mr. Pourzand
was held illegally in a series of undisclosed locations and was not informed of the reasons for his
arrest; he was not informed of the precise charges against him; he was denied the legal counsel of
his choice; his family’s access to him was restricted; he was detained without charge longer than
Iranian law permits; he was not able to challenge the lawfulness of his arrest; and he was denied
access to appropriate medical care. Throughout his ordeal, the courts colluded in his
mistreatment.

Siamak Pourzand’s case sheds much needed light on the parallel state run by the conservative
establishment during the reform era. Mr. Pourzand’s human rights were abused for political
purposes. He was vilified in Iran’s government-controlled media, imprisoned unlawfully, denied
due process, denied a fair trial and forced into self-incrimination. His case is emblematic of the
manner in which the conservative clerical establishment cynically undermined institutions of their
own creation to maintain their influence over Iranian society, despite the clearly expressed will of
the Iranian electorate for greater freedom in their daily lives.




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2. Executive Summary
Siamak Pourzand was an independent cultural commentator on the fringes of the reform
movement. He is also the husband of the prominent Iranian human rights campaigner, Mrs.
Mehrangiz Kar. Seventy-years-old at the time of his initial disappearance in 2001, the case
manufactured against him was used by the conservative clerical establishment to undermine
popular support for the reform movement and to intimidate prominent reformers.

   •   Conservative hard-liners used a relatively obscure branch of the Iranian Law
       Enforcement Agency (NAJA), known variously as the Bureau of Premises (Amaken) or
       the Committee for the Propagation of Virtue and the Prohibition of Vice, to advance their
       agenda. They then manipulated the judicial process to ensure that Siamak Pourzand’s
       case was heard by a judge, Ja’far Sabiri Zafarqandi, who was sympathetic to their plans.

   •   The case against Siamak Pourzand was fabricated by coercing a secretary at his office,
       Ms. Venus Farimehr, into confessing that they were having an illicit relationship. Ms.
       Farimehr, who ended up in hospital after her ordeal, did her best to warn Mr. Pourzand
       and his family that he was at risk.

   •   Siamak Pourzand was abducted from outside his sister’s home on November 24, 2001,
       and it was two weeks before his family received any news of what had happened to him.
       Mr. Pourzand was not presented with an arrest warrant nor was he advised of the charges
       against him. He was held in a succession of undeclared detention facilities operating
       outside Iran’s official State Prisons Organization. His family was never told where, or by
       whom, or why he was being held.

   •   The manner in which Siamak Pourzand was treated violated the Constitution of the
       Islamic Republic of Iran, Iran’s Code of Criminal Procedure, and international standards
       of due process. As a secret prisoner thrown into a maze of undeclared detention facilities,
       he was quite literally at the mercy of the parallel state maintained by the conservative
       clerical establishment during Iran’s reform era. His subsequent confession to the charges
       ultimately brought against him reflects the duress to which he was subjected in this
       period.

   •   Siamak Pourzand was denied access to the legal counsel of his choice, future Nobel
       laureate Mrs. Shirin Ebadi, who was warned off the case in threatening terms by Judge
       Zafarqandi. The performance of Mr. Pourzand’s court-appointed defense attorney, Mr.
       Dabir Daryabigi, was such to suggest a degree of complicity between the lawyer and
       those holding his client.

   •   Siamak Pourzand was ultimately convicted of a range of offenses, mostly relating to
       national security rather than the alleged moral offenses for which he was originally
       detained. He was falsely accused and convicted of spreading anti-regime propaganda,
       collaborating with anti-regime elements, and distributing foreign funds to reformist
       newspapers. Having been sentenced to eleven years in prison and seventy-four lashes,
       Mr. Pourzand was brought out of detention to participate in a tightly controlled televised
       press conference in which he was compelled to publicly confess his guilt. His confession
       was used to justify the arrests of prominent members of the reform movement.




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•   In the judgment of the United Nations Commission on Human Rights Working Group on
    Arbitrary Detention, which reviewed Siamak Pourzand’s case in 2003, his detention by
    the Iranian Government was indeed arbitrary. The Working Group concluded that he had
    been detained because of his beliefs and his free expression of those beliefs, and, as such,
    his detention was a breach of Article 19 of the Universal Declaration of Human Rights
    and Article 19 of the International Covenant on Civil and Political Rights. The Islamic
    Republic of Iran is a State Party to both instruments.

•   While in prison, Siamak Pourzand’s health deteriorated dramatically to the point that he
    suffered a severe heart attack in April 2004. At the time of this writing, Mr. Pourzand has
    been conditionally released from prison as he recuperates from successive rounds of
    surgery, but he still remains under house arrest in Tehran.




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3. Political Background
Mohammad Khatami’s landslide victory in the 1997 presidential election sharpened the factional
rivalry inside the Islamic Republic of Iran. Political and ideological differences came to the fore
more forcefully and the contest over the future direction of the society intensified.1

The power struggle was primarily between two main factions within the clerical establishment:
reformists and conservatives.2 Khatami recognized the strength of the reformist movement and
sought to appeal to reformers by coming out against certain restrictions on individual freedoms
under the Islamic Republic. He advocated for a degree of social liberalization and repeatedly
pledged during his election campaign to uphold the constitution, protect the rights it guaranteed,
and instill the rule of law.3

Although the election signaled the strength of popular demands for reform, it did not change the
basic framework of the Islamic revolutionary system, and the electoral victory did not translate
into deeper social reforms. The Supreme Leader, Ayatollah Seyyed Ali Khamene’i, remained the
most powerful political figure in the country and the conservative bloc within the clerical
establishment retained control over many state institutions through which they sought to pursue
an anti-reform agenda.

The Iranian constitution vests absolute authority in the person of the Supreme Leader under a
theocratic doctrine known as the Guardianship of the Jurist.4 The Supreme Leader is
constitutionally responsible for overseeing the general policies of the Islamic Regime of Iran,5
leaving the President to exercise only the day-to-day authority. The Supreme Leader exercises his
power through a network of special representatives6 who have the authority to intervene in any
state matter on behalf of the Supreme Leader.7

During President Khatami’s first term in office, reformists and conservatives within the religious
establishment vied for control of the various levers of state. In 1998, a number of Iranian
dissident intellectuals had been brutally murdered in an apparently coordinated campaign that

1
  See MEHDI MOSLEM, FACTIONAL POLITICS IN POST-KHOMEINI IRAN (2002); REZA AFSHARI, HUMAN RIGHTS IN IRAN:
THE ABUSE OF CULTURAL RELATIVISM (2001); PATRICK CLAWSON, MICHAEL EISENSTADT, ELIYAHU KANOSVSKY, DAVID
MENASHRI, IRAN UNDER KHATAMI (1998); DAVID MENASHRI, POST REVOLUTIONARY POLITICS IN IRAN: RELIGION,
SOCIETY AND POWER (2001); ALI GHEISSARI AND VALI NASR, DEMOCRACY IN IRAN 128-145 (2006).
2
  The terms “conservative” and “reformist” can be problematic in the context of Iranian politics. We have used the term
“reformist” in this report to refer to the political groupings inside the regime who were pushing for reform from within
– groupings that would later become known as Duvvum-i Khordad-i ha (The May 23rd Front). The interaction between
reformist and conservative elements within Iran’s clerical establishment is fluid and complex. IHRDC uses these terms
for the sake of simplification, but it must be acknowledged that there are points of division and agreement between both
camps on a wide range of issues and such complexities are not easily captured by simple labels. For greater detail on
the Iranian political scene during this period see generally MEHDI MOSLEM, FACTIONAL POLITICS IN POST-KHOMEINI
IRAN (2002); REZA AFSHARI, HUMAN RIGHTS IN IRAN: THE ABUSE OF CULTURAL RELATIVISM (2001); PATRICK
CLAWSON, MICHAEL EISENSTADT, ELIYAHU KANOSVSKY, DAVID MENASHRI, IRAN UNDER KHATAMI (1998); DAVID
MENASHRI, POST REVOLUTIONARY POLITICS IN IRAN: RELIGION, SOCIETY AND POWER (2001); International Crisis Group
(ICG),     Iran:     The     Struggle     for     the    Revolution’s    Soul,   August     5,    2002,   available   at
http://www.crisisgroup.org/home/index.cfm?id=1673&l=1 (last visited on May 15, 2008).
3
  See DAVID MENASHRI, POST-REVOLUTIONARY POLITICS IN IRAN, RELIGION, SOCIETY AND POWER, 80-82 (2001).
4
  See QANUN-I ASSASIYIH JUMHURIYIH ISLAMIYIH IRAN [Constitution of the Islamic Republic of Iran] article 2 (adopted
1979, amended 1989) (hereinafter Constitution of Iran).
5
  See Constitution of Iran, supra note 4, article 5 and article 110.
6
  See Constitution of Iran, supra note 4, article 110.
7
  DANIEL BYMAN, SHAHRAM CHUBIN, ANOUSHIRVAN EHTESHAMI, JARROLD GREEN, IRAN’S SECURITY POLICY IN THE
POST REVOLUTIONARY ERA 24 (2001).


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became known as the ‘Chain Murders’ and was ultimately linked to the Ministry of Intelligence.8
The Minister of Intelligence serving at the time of the ‘Chain Murders’ was the conservative
cleric Dorri Najafabadi, who was considered to be close to the Supreme Leader.9 In 2000,
President Khatami took advantage of the popular outcry provoked by the ‘Chain Murders’ to
appoint a reformist cleric, Ali Younesi, in Najafabadi’s place. Younesi purged the Ministry of
elements associated with the ‘Chain Murders.’ The resulting diminution of their influence within
the Ministry led conservatives to seek to extend their influence through the other state intelligence
organs.10

A number of military and government institutions in Iran maintain an intelligence capability that
is independent of the Ministry of Intelligence. The Ministry of Intelligence has primacy in all
national security issues while the other intelligence units act primarily in support of their parent
institutions.11 Collectively these subsidiary intelligence units are often known by the shorthand
term “parallel institutions” (Nahadhayih Muvazi)12. Although the Minster of Intelligence is
appointed by the President, in conjunction with the Majlis (Iran’s parliament), the heads of the
Intelligence Protection Organization of IRGC, the Intelligence Protection Center of NAJA,13 the
Intelligence Protection Organization of the Army,14 and the Intelligence Protection Center of the
Judiciary are all appointed by the Supreme Leader consolidating conservative control over these




8
  See Iranian Student News Agency (ISNA)’s interview with Mohsen Mirdamadi, the head of the National Security and
Foreign Policy Commission of Majlis in ISNA, Hushdar-i Ra’is-i Commission-i Amniyat-i Milliyih Majlis dar Murid-i
Bazsaziyih Sitad-i Qatalhayih Zanjirih-i [Warning of the Head of the National Security Commission of Majlis about
the Reformation of the Board of the Chain Murders], 10/14/1380 (January 4, 2002), available at
http://isna.ir/isna/NewsView.aspx?ID=News-96091 (last visited June 27, 2008); Tarik Khanihyih Ashbah, Asib
Shinasiyyih Guzar bih Dawlat-i Democratic Tawsi’igara [DUNGEON OF GHOSTS, PATHOLOGY OF TRANSITION TO A
DEVELOPMENTAL DEMOCRATIC STATE], 13, 18, 30 and 41 (Akbar Ganji, Tarh-e No, 1999) [hereinafter GANJI:
DUNGEON OF GHOSTS].
9
  Akbar Ganji argues that Dorri Najafabadi was appointed Minister of Intelligence contrary to President Khatami’s will
in 1997. He claims that Khatami introduced him as Minister of Intelligence in his cabinet under pressure from the
Supreme Leader. For more information see generally GANJI: DUNGEON OF GHOSTS at 47 and 48].
10
   Mirdamadi claimed in the interview with ISNA that “the Chain Murder committee has reconfigured and revived
itself after its nuclei was targeted earlier.” See ISNA, Hushdar-i Ra’is-i Commission-i Amniyat-i Milliyih Majlis dar
Murid-i Bazsaziyih Sitad-i Qatalhayih Zanjirih-i [Warning of the Head of the National Security Commission of Majlis
about the Reformation of the Chain Murder Nuclei], 10/14/1380, (January 4, 2002), available at
http://isna.ir/isna/NewsView.aspx?ID=News-96091 (last visited June 27, 2008); IHRDC phone interview with a former
member of the Office of Intelligence Protection of the Army in Iran (Witness A), United States, May 2, 2008 (on file
with IHRDC); IHRDC interview with Mohsen Sazegara, a founding member of the IRGC, United States, February 14,
2008 (on file with IHRDC); IHRDC interview with Ardeshir Zarezadeh, a political dissident who was arrested by the
Parallel Intelligence Agency, United States, February 15, 2008 (on file with IHRDC); and Gooya News, Darbariyih
Sazman-i Ittila’t-i Muvazi, Qismat-i Aval [About the Parallel Intelligence System, Part One], 19/2/1384 (May 9, 2005)
(accessed on May 22, 2005).
11
   See the QANUN-I NIRUYIH INTIZAMIYIH JUMHOURIYIH ISLAMIYIH IRAN [Law of the Law Enforcement Forces of the
Islamic       Republic     of     Iran     (NAJA)]     articles    2,    4.4,      4.7,  and     5,     available  at
http://www.police.ir/Portal/Home/Default.aspx?CategoryID=d851787c-8912-4fef-ac2c-dc9bca7f2b6b (last visited on
June 26, 2008).
12
   Gooya News, Darbariyih Sazman-i Ittila’t-i Muvazi, Qismat-i Aval [About the Parallel Intelligence System, Part
One], 19/2/1384 (May 9, 2005) (accessed on May 22, 2005).
13
   See QANUN-I NIRUYIH INTIZAMIYIH JUMHOURIYIH ISLAMIYIH IRAN [Law of the Law Enforcement Forces of the
Islamic           Republic          of         Iran       (NAJA)]          article       5,         available      at
http://www.police.ir/Portal/Home/Default.aspx?CategoryID=d851787c-8912-4fef-ac2c-dc9bca7f2b6b (last visited on
June 26, 2008).
14
   QANUN-I ARTISH-I JUMHURIYIH ISLAMIYIH IRAN [Law of the Military of the Islamic Republic of Iran] article 16,
comment 1 (1987).


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“parallel institutions.” Many of those purged from the Ministry of Intelligence by Ali Younesi
found new positions in the parallel intelligence units.15

The “parallel institutions” gave conservative clerics a base from which to push back against the
reform movement. Lacking the sweeping jurisdiction enjoyed by the Ministry of Intelligence, the
“parallel institutions” were forced to carefully coordinate their activities, and a secret committee
of the heads of the “parallel institutions” was established to this end. This committee reported
directly to the Supreme Leader. In addition to the various intelligence units still under
conservative control, the Committee also included representatives of the two most important
state-controlled media institutions, Islamic Republic of Iran Broadcasting and the Kayhan
newspaper. The state-controlled media would play a key role in the campaign waged against the
reformists, blackening reputations and broadcasting public confessions.16

The conservative establishment also continued to exert substantial influence over the judiciary.
The Supreme Leader controlled the judiciary by appointing and dismissing the head of the
Judiciary.17 The head of the judiciary in turn had the authority to appoint the head of the Supreme
Court and the Chief Public Prosecutor, who had the managerial authority to appoint and dismiss
their subordinates. The judiciary was structured in such a way as to ensure that it was
subordinated to political considerations and could thus be easily controlled by the clerical
establishment.18

The conservatives sought to undermine the legitimacy of the reformist movement by linking it to
western governments plotting to undermine the Islamic revolution with the tone set by Ayatollah
Khamenei’s statement that “today, the enemy is striking Islam from home.”19 To this end, the
conservatives used the parallel security institutions to collect and, in some cases, manufacture
material incriminating individuals linked to the reform movement. The “parallel institutions”
operated illegal detention facilities outside the control of the State Prisons Organization20 where
political prisoners were abused and intimidated with impunity. The judiciary not only ignored
violations of law by the parallel security forces but also sanctioned their illegal activities by
accepting confessions obtained under duress in illegal facilities.21

The conservatives exploited the powers granted to the judicial authorities to give a patina of
legality to their activities.22 The conservatives thus used sympathetic judges and law enforcement


15
   IHRDC phone interview with a former member of the Office of Intelligence Protection of the Army in Iran (Witness
A), United States, May 2, 2008 (on file with IHRDC)
16
   IHRDC interview with Mohsen Sazegara, United States, February 14, 2008 (on file with IHRDC) and Gooya News,
Darbariyih Sazman-i Ittila’t-i Muvazi, Qismat-i Aval [About the Parallel Intelligence System, Part One], 19/2/1384
(May 9, 2005) (accessed on May 22, 2005).
17
    See QANUN-I ASSASIYIH JUMHURIYIH ISLAMIYIH IRAN [Constitution of the Islamic Republic of Iran] article 175
(adopted 1979, amended 1989).
18
   MAJID MOHAMMADI, JUDICIAL REFORM AND REORGANIZATION IN 20TH CENTURY, STATE-BUILDING, MODERNIZATION,
AND ISLAMICIZATION 163, 197, 126-136 (2008).
19
   Ayatollah Seyyed Ali Khamenei as quoted in MEHDI MOSLEM, FACTIONAL POLITICS IN POST – KHOMEINI IRAN 258
and 262 (2002). See also REZA AFSHARI, HUMAN RIGHTS IN IRAN: THE ABUSE OF CULTURAL RELATIVISM, 208 (2001);
MENASHRI, supra note 3, at 154-155; GANJI: DUNGEON OF GHOSTS at 352, 425-434.
20
   The State Prison Organization is an independent state body that is responsible for monitoring all the prisons in Iran
and operates directly under the supervision of the Head of the Judiciary. See A’YIN NAMIYIH IJRA’IYIH SAZMAN-I
ZINDANHA VA IQDAMAT-I TA’MINI VA TARBIYATIYIH KISHVAR [Executive Procedure for the Organization for State
Prisons and Security and Corrective Measures] article 1 (2005).
21
   MAJID MOHAMMADI, JUDICIAL REFORM AND REORGANIZATION IN 20TH CENTURY, STATE-BUILDING, MODERNIZATION,
AND ISLAMICIZATION 163 (2008)
22
    Id. at 182-190 (2008); MENASHRI, supra note 3, at 148.


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officials to advance their agenda.23 Article 26 of Iran’s Code of Criminal Procedure authorizes the
head of each legal division to assign a case to relevant branches.24 Although the law provides
strict guidelines on how cases can be referred to a court, it gives prosecutors discretion to decide
which type of court shall have the jurisdiction to rule over a case.25 One court in particular, the
Special Court of Mehrabad (Branch 1610), was especially sympathetic to the conservative
agenda.26 Presiding over the Special Court of Mehrabad was Judge Sabiri Zafarqandi.27 The first
victim of this elaborate conspiracy was a liberal journalist named Siamak Pourzand.


4. The Disappearance of Siamak Pourzand

                                                             Mr. Siamak Pourzand was born in September
                                                            1931 and spent his professional career as a
                                                            journalist and film critic. Prior to his
                                                            disappearance, Mr. Pourzand was the manager of
                                                            the Tehran Cultural Center (Majmuiyyih
                                                            Farrhang-i Hunariyih Tehran)28 and the chief
                                                            editor of an internal bulletin for the Iranian Civil
                                                            Engineering Association, Payam-i Abadgaran.
                                                            Between 1998 and 2001, he had been an
                                                            occasional contributor to a number of reformist
                                                            newspapers and foreign-based Farsi language
                                                            media outlet. He was well known for his public
                                                            criticism of the Islamic Republic’s policy toward
 Siamak Pourzand serving as a war correspondent in
                 the Sinai desert
                                                            culture and the arts.29

                                              In the immediate aftermath of the Iranian
revolution, Siamak Pourzand was banned from working in journalism. Mr. Pourzand was a
cosmopolitan and liberal figure who had worked in the United States from 1964-1969 as a foreign
correspondent for the pre-revolutionary incarnation of Kayhan. He had interviewed U.S.

23
   The judicial authorities can order law enforcement agencies to arrest suspects and conduct primary investigations
under the Law of the Law Enforcement Forces. See QANUN-I NIRUYIH INTIZAMIYIH JUMHOURIYIH ISLAMIYIH IRAN [Law
of the Law Enforcement Forces of the Islamic Republic of Iran (NAJA)] article 4.8, available at
http://www.police.ir/Portal/Home/Default.aspx?CategoryID=d851787c-8912-4fef-ac2c-dc9bca7f2b6b (last visited on
June 26, 2008). For more information, see Section 4 through 9 of this report and Human Rights Watch, Like the Dead
in Their Coffins; Torture, Detention, and the Crushing of Dissent in Iran, June 2004, available at
http://hrw.org/reports/2004/iran0604/ (last visited June 15, 2008).
24
   AY’IN-I DADRASIYIH KAYFARI [Iranian Criminal Procedure] article 26 (1997).
25
   Id.
26
   Nazanin Namdar, Dadsarayih Furudgah, Qanuni ya Qayr-i Qanuni? [Is the Airport Prosecution Office Legal or
Illegal?] Rooz Online, September 19, 2005.
27
    Unlike Iran’s Revolutionary and Public Courts, the Special Courts have territorially limited and legally narrow
jurisdiction. For example, some Special Courts have jurisdiction over specific kinds of crimes such as embezzlement,
economic crimes, and Internet crimes. The Special Court of Mehrabad has jurisdiction over the crimes committed
inside Mehrabad Airport, Tehran’s previous international airport, which would normally relate to customs violations
and drug trafficking. See id.
28
   The Tehran Cultural Center for Writers, Artists, and Intellectuals provided facilities for artists, writers and other
intellectuals to perform, display and discuss their work. The Center also provided a forum for well-known civil society
and women’s rights activists to talk about the role arts and culture could play in promoting individual rights in Iran. Mr.
Pourzand encouraged such discussions.
29
       See     Pen     America’s     Statement,      Honorary      Member,       Siamak    Pourzand,       available     at
http://www.pen.org/freedom/hm/pourzand.htm (last visited on July 16, 2008).


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President Richard Nixon, as well as a number of other American political and cultural figures,30
which made him somewhat suspect in the eyes of the new regime – as did the fact that in 1978 he
had served briefly as the deputy of the General Manager of the Ministry of Education, and that his
brother had been a colonel in the Shah’s armed forces.31 However, Mr. Pourzand was eventually
allowed to resume his journalistic career working primarily for Payam-i Abadgaran, Shafa (a
health magazine), and Fazilat (a cultural publication).

In 2001 Siamak Pourzand was appointed to manage the Tehran Arts and Cultural Center. The
Center had been established as a forum for intellectuals and civil society activists to exchange
views on a wide range of issues, including women’s rights and freedom of expression. Mr.
Pourzand is also the husband of Mehrangiz Kar, a writer, lawyer and prominent women’s rights
campaigner. Mrs. Kar was sentenced to four years’ imprisonment on April 29, 2000, for her
participation in a conference entitled Iran after the Elections held at Berlin’s Heinrich Böll
Institute in April 2000.32

Mrs. Kar spent 54 days in prison before being released on bail for medical treatment. She left Iran
in August 2001 and eventually settled in the United States. From the United States, Mrs. Kar
appealed against her conviction, which was partially overturned, and she was discharged by the
court with time served. However, three charges still remain open against her, and she has not
returned to Iran since 2001. The couple have two daughters, Lily and Azadeh, who were both
living in North America by the end of 2001.

Siamak Pourzand’s first wife, Manda Zand-Ervin,33 is also living in the United States. Mrs. Zand-
Ervin fled Iran after the revolution. She is the founder and president of the Alliance of Iranian
Women, an advocacy group promoting women’s rights, and is an active member of the
Constitutionalist Movement of Iran, an expatriate political party that supports the restoration of a
constitutional monarchy in Iran. Banafshéh Zand-Bonazzi,34 Mr. Pourzand’s daughter from his
first marriage, is a long-term resident of the United States, and an active human rights campaigner
and critic of the Iranian regime. Mohammad Bagher Ghalibaf, head of the NAJA, would later cite



30
   IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
31
   Id
32
   “Iran after the Elections” was a conference on human rights, reform and secularism held in Berlin in the aftermath of
the February 2000 election in which the reformists scored a sweeping victory in the Majlis. The conference was
organized by the Heinrich Böll Institute, which is associated with the German Green Party, on April 7 and 8, 2000. A
number of prominent Iranian liberal journalists traveled from Tehran to take part in it. The conference broke up in
public disarray and mutual recrimination. One hundred and forty members of the Majlis signed a letter to the Supreme
Leader condemning the reformists taking part in the conference. Mrs. Kar had prominently criticized the Islamic
Republic for violating women rights during the conference, and she was arrested after her return to Iran. She was sent
to Evin Prison on April 29, 2000. See Human Rights Watch, Iran: Trial for Conference Attendees, November 2, 2000,
available at http://hrw.org/english/docs/2000/11/02/iran610.htm (last visited on July 22, 2008); and BBC, Iran bails
'Berlin conference' women, June 21, 2000, available at http://news.bbc.co.uk/2/hi/middle_east/800435.stm            (last
visited on July 22, 2008).
33
   Prior to the Iranian revolution, Mrs. Zand-Ervin served in Iran's Ministry of Economics and Finance, rising to be
Managing Director of the Customs Administration. She fled Iran in June 1979 and ultimately settled in the United
States. She is the president of the Alliance of Iranian Women and is a regular television commentator in the U.S. In
2002 she was elected to the Central Council of the Constitutionalist Movement of Iran. In July 2006 Mrs. Zand-Ervin
participated in a meeting of Iranian pro-democracy activists hosted by the White House.
34
   Banafshéh Zand-Bonazzi left Iran in 1982. She writes for a number of U.S. publications including The National
Review, Defense & Foreign Affairs and Front Page Magazine, and also appears as a television commentator. She is the
editor of the English department of the website Iran Press News and is active in the Alliance of Iranian Women.


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Mr. Pourzand’s relationship with his first wife and their daughter as proof of his “anti-
revolutionary activities.”35

4.1. A Growing Threat

At the beginning of November 2001, agents from Amaken (literally the Bureau of Premises), a
branch of the NAJA responsible for investigating vice crimes committed on both public and
private property,36 raided the home of Siamak Pourzand’s sister, Mahin.37 The agents claimed that
they had received reports that her apartment was being used for illegal gambling. During this raid,
the agents seized some boxes that were full of clippings and articles that Siamak Pourzand had
kept since the 1950s.38 The boxes also contained a number of photographs taken by Mr. Pourzand
during his journalistic career, as well as many private family photos. He later told his family that
articles from the seized collection were used against him in interrogations after his arrest.39

A few days later, Ms. Venus Farimehr, who worked at the Tehran Cultural Center as the secretary
of the Executive Director Mr. Jami’i, was abducted on a street in Tehran.40 She was missing for
twenty-four hours. After her release, she was admitted to hospital in a state of severe physical and
emotional shock. She sent a message to Mahin Pourzand urgently seeking a meeting. When
Mahin Pourzand visited Ms. Farimehr in hospital, Ms. Farimehr told her that she had been beaten
and forced to confess to having a sexual relationship with Mr. Pourzand.41 Ms. Farimehr said that
her abductors had threatened her with being stoned to death – the penalty for committing adultery
– if she refused to cooperate.42

In mid-November 2001, Siamak Pourzand told his family that he was being followed around
Tehran by two men on motorcycles.43 He also reported that on one occasion a car had pulled up

35
   Parvandiyih Pourzand Ra Bih Dastur-i Ra’is Jumhur Paygiri Kardim [We Pursued the Pourzand Case at the Order
of the President] KAYHAN, 07/11/1380 (October 3, 2002).
36
    See Amnesty International, Further Information: Disappearance / Possible Extra-judicial Execution, Fear of
Possible      Ill   Treatment    or     Torture    Siamak     Pourzand,     May      10,    2002,    available at
http://www.amnesty.org/en/library/asset/MDE13/007/2002/en/dom-MDE130072002en.html (last visited June 10,
2008) (hereinafter AI Press Release of May 10, 2002) and the Amaken page on the Law Enforcement Forces website,
available at http://www.police.ir/Portal/Home/Default.aspx?CategoryID=8cbfe6bc-6e7e-4010-9131-8ac8897b4254#1
(last visited on June 20, 2008).
37
   Mahin Pourzand was the elder sister of Siamak Pourzand. She was the only member of the family to have face-to-
face contact with Mr. Pourzand while he was in prison. She died on November 16, 2006.
38
   IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
39
   IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
40
    Human Rights Watch, Iran: Journalist at Risk, December 22. 2001, available at http://hrw.org/english/doc
s/2001/12/22/iran3449.htm (last visited on May 15, 2008) (hereinafter HRW: Journalist at Risk).
41
   IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC). Mr. Jami‘i was also
present when Ms. Farimehr told her story to Mahin Pourzand.
42
   IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC). Also see the
Iranian government response to UN Working Group on arbitrary detention that alleges Siamak Pourzand was arrested
following a complaint submitted by Mrs. Venus Farimehr, who claimed she was sexually abused by Siamak Pourzand.
For more information, see United Nations Comm’n on Human Rights, Working Group on Arbitrary Det., Opinion No.
8. 2003 (Islamic Republic of Iran), U.N. Doc. E/CN.4/2004/3/Add.1.at 45 (May 9, 2003) (hereinafter Working Group
Report). [attached as Appendix 1] See also HRW: Journalist at Risk, supra note 40.
43
   See BBC interview with Azadeh Pourzand in BBC Persian, Bi Ittila’-i Az Vaz’iyat-i Pourzand [No News of Siamak
Pourzand’s Conditions], December 28, 2001, available at http://www.bbc.co.uk/persian/news/011228_h-
pourzand.shtml (last visited on June 27, 2008); Amnesty International, Disappearance / Possible Extra-judicial
Execution,          Siamak         Pourzand,         November           27,        2001,         available     at
http://www.amnesty.org/en/library/asset/MDE13/046/2001/en/dom-MDE130462001en.html (last visited on May 15,
2008) (hereinafter AI Press Release of November 27, 2001); Namiyih Lily Pourzand Bih Kamal Kharrazi, Vazir-i


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next to him on the street and the passenger, who was wearing a helmet to hide his face, showed
him a gun though the half-opened tinted window and threatened to kill him. Siamak Pourzand
was too frightened to record the license plate of the car, and he saw little point in reporting the
incident to the police.44

4.2. Abduction

At 9:00 pm on November 24, 2001, Siamak Pourzand was accosted outside his sister’s apartment
in central Tehran by two men in civilian clothing as he was seeing off a guest.45 Mahin Pourzand
watched this encounter from a window.46 Mr. Pourzand then buzzed her on the apartment’s
intercom and asked her to bring down his house keys, car keys, shoes, and medicine. She took
these down to him, along with his address book, which she thought he might need, and Mr.
Pourzand then left with the men outside.47

Law enforcement agencies in Iran are required by law to present the suspect with an arrest
warrant that describes the cause of the arrest to the suspect and to conduct any search and arrest in
daylight [see Section 10.1 below]. However, those detaining Siamak Pourzand did not produce an
arrest warrant, did not identify themselves, and waited to seize him on the street after dark.48

Mr. Pourzand was taken to his apartment, which his captors then searched. They seized the hard
drive of a computer belonging to Mrs. Kar and 400 Swedish Kronor.49

4.3. Where is Siamak Pourzand?

There was no news of Siamak Pourzand for two weeks following his disappearance. No
governmental agency assumed responsibility for arresting him.50 His family did not know
whether he was alive or dead but, hoping for the best, began a campaign to inform the
international human rights community of his plight.




Umur-i Kharijiyih Iran [Letter of Lily Pourzand to Kamal Kharrazi, the Iranian Minister of Foreign Affairs],
(December 22, 2001) (on file with IHRDC); Namiyih Azadeh Pourzand Bih Hassan Zia’i-Far, Ra’is-i Commission-i
Huquq-i Bashar-i Islami, [Letter of Azadeh Pourzand to Mr. Mohammad Hassan Zia’i-Far, Head of IHRCI],
(December 21, 2001) (on file with IHRDC).
44
   IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
45
   AI Press Release of November 27, 2001, supra note 43; IHRDC interview with Mrs. Mehrangiz Kar, United States,
February 4, 2008 (on file with IHRDC). See also Namiyih Mehrangiz Kar Bih Musavi Khu’iniha, Namayandihyih
Majlis [Letter of Mrs. Kar to Musavi Khu’iniha, Representative of Majlis], (April 5, 2002) (on file with IHRDC).
46
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC). For more
information, see also BBC, Iran: Husband of Human Rights Lawyer arrested, November 28, 2001.
47
   The narration in this part of the report is based on the recollections of two credible sources, namely Mrs. Mehrangiz
Kar, wife of Siamak Pourzand, and Lily Pourzand, daughter of Siamak Pourzand. Both Lily Pourzand and Mrs. Kar
had direct contact with Mahin Pourzand regularly from the time of Siamak Pourzand’s arrest until Mahin Pourzand’s
death in 2006. The Iran Human Rights Documentation Center has interviewed both Ms. Lily Pourzand and Mrs.
Mehrangiz Kar and has reconstructed the sequence of the events based on their interviews.
48
    IHRDC’s Interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC). See also
Working Group Report, supra note 42.
49
   Interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
50
    Law enforcement agencies are required to hand over the detainees to relevant courts within 24 hours with their
findings. It is illegal to keep the detainees more than 24 hours in custody. For more information see AY’IN-I
DADRASIYIH KAYFARI [Iranian Criminal Procedure] article 24, 123, and 123.1 (1991).


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                                             International interest in Mr. Pourzand’s case prompted Mr.
                                             Mohammad Hassan Zia’i-Far, the Legal Director of the
                                             Islamic Human Rights Commission of Iran (IHRCI),51 to
                                             write to the General Director of the Ministry of Justice in
                                             Tehran on December 6, 2001, seeking answers about
                                             Siamak Pourzand’s whereabouts.52 The IHRCI received oral
                                             confirmation from the General Director’s staff that his
                                             office was aware of Siamak Pourzand’s case but had no
                                             information about who had arrested him or where he was
                                             being held.53 However, the General Director’s Office did
                                             inform IHRCI that Siamak Pourzand’s charges were
                                             “apolitical” and he had been arrested because of allegations
                                             of “moral offenses.”54
     Siamak Pourzand pictured shortly
             before his arrest       On December 7, 2001, Mrs. Mahin Pourzand received an
                                     anonymous telephone call instructing her to bring a change
of clothes for Siamak Pourzand to the Amaken office on Ostad Motahari Street in Tehran. Mrs.
Pourzand did as she was instructed. The officials who accepted the clothes refused to allow her
access to see Siamak Pourzand. When she asked them where her brother was being held and what
he had been charged with, she was told that it was none of her business.55

On December 30, 2001, Siamak Pourzand’s youngest daughter, Azadeh, wrote directly to
President Khatami seeking his help.56 She explained in the letter that her father had been detained
by unknown agents and requested that the President make an official inquiry to establish his
physical and psychological health.57 The Pourzand family continued their efforts by sending
letters to various other officials, including Iran’s Foreign Minister, Mr. Kamal Kharrazi,58 Iran’s
ambassador to the United Nations at the time, Mr. Nejad Hosseinian,59 and the Supreme Leader,
Ayatollah Khamene’i.60 None of the recipients replied.


51
   The Islamic Human Rights Commission of Iran was established in 1995, during the Presidency of Akbar Hashemi
Rafsanjani, by the Head of the Judiciary, Ayatollah Mohammad Yazdi. The Head of the Judiciary sits on the board of
the IHRCI as an observer. It should also be noted that the IHRCI is an entirely separate entity from the Human Rights
Committee established in the Majlis in 1996. Professor Reza Afshari has described this commission as a “smoke and
mirrors” effort to demonstrate regime’s responsiveness to human rights issues. See REZA AFSHARI, HUMAN RIGHTS IN
IRAN: THE ABUSE OF CULTURAL RELATIVISM, 279 (2001).
52
   Dadgustari dar Jaryan-i Dastgiriyih Pourzand Ast [Ministry of Justice Is Aware of Pourzand’s Arrest], NOUROOZ,
11/10/1380, (January 1, 2002).
53
   Id.
54
   Id.
55
   Amnesty International, Further Information: Disappearance / Possible Extra-judicial Execution, Siamak Pourzand,
December 12, 2001.
56
   Namiyih Azadeh Pourzand bih Mohammad Khatami [Letter from Azadeh Pourzand to President Khatami], (February
2002) (on file with the IHRDC).
57
   Azadeh Pourzand letter to Khatami, Tell me where is my father, WASHINGTON POST, December 30, 2001 [attached
as Appendix 4]; Lily Pourzand sent a separate letter to President Khatami echoing the same sentiments. See Namiyih
Lily Pourzand bih Mohammad Khatami [Letter from Lily Pourzand to President Khatami], 10/01/1380 (January 1,
2002) (On file with IHRDC).
58
    Namiyih Lily Pourzand bih Kamal Kharrazi, Vazir-i Umur-i Kharijiyih Iran [Lily Pourzand’s letter to Kamal
Kharrazi, the Iranian Minister of Foreign Affairs], (December 22, 2001) (on file with IHRDC). The letter was sent
through Mr. Mehrabadi at the Interest Section of the Islamic Republic of Iran in Washington D.C.
59
   Lily Pourzand sent her letters to Mr. Nejad Hosseinian, in charge of the interest section of the Islamic Republic of
Iran in Washington DC to forward them to officials in Iran. She personally requested from him that he would forward
her letters to those the letters were addressed to. Namiyih Lily Pourzand bih Aqayih Nejad Hosseinian, Namayandiyih
Da’im-i Iran dar Sazman-i Milal [Letter of Lily Pourzand to Mr. Nejad Hosseinian, Iran’s Permanent Representative to
the United Nation], (December 22, 2001).
60
   Namiyih Azadeh Pourzand bih Rahbar-i Inqilab, Ayatollah Khamenei [Letter of Azadeh Pourzand to the Supreme
Leader, Ayatollah Khamenei], (August 6, 2003) (on file with IHRDC).


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On January 3, 2002, the government-controlled newspaper Iran reported that Siamak Pourzand
was being held in “Prison 59” under the supervision of the State Prison Organization.61 The
newspaper seemed intent on rebutting claims in the reformist press that Siamak Pourzand was
being held illegally in one of Amaken’s offices. 62 Mr. Pourzand’s family was unable to obtain
official confirmation of the Iran report.63

On January 4, 2002, the reformist head of the National Security Commission of the Majlis, Mr.
Mohsen Mirdamadi, voiced his concern about Siamak Pourzand’s reported situation, attacking
conservative control of the judicial system and accusing the judiciary of lacking accountability.64
Mr. Mirdamadi said:
         Now things are happening in the country and the media is reporting events that no
         governmental institution will take responsibility for. During my recent trip to Ireland, I
         learned that a person named Siamak Pourzand had disappeared or had been kidnapped in
         Iran. While no governmental bodies in Iran have taken the responsibility for his arrest or
         detention, and while his family does not know about his whereabouts, some newspapers
         allude to a confession. Will the judiciary not take the responsibility for this act? Why
         does it not inform the family what has happened to this man!65

On January 6, 2002, the newspaper Nourooz reported that Jam, a conservative weekly journal,
had announced that “Siamak Pourzand, husband of Mehrangiz Kar, confessed to having received
millions of dollars from the American-Iranian Council.”66 The paper also claimed that Mr.
Pourzand had distributed this money among the “so-called” reformist newspapers.67 No official
confirmation of the accuracy of the story was forthcoming. Mrs. Kar recalls:
         We had mixed feelings when we heard details about the alleged confession. We were
         happy that Siamak was still alive and scared because the charges were very severe and
         entailed a severe penalty.68

Responding to the story in Jam, the Chairman of the American Iranian Council (AIC), Dr.
Hushang Amir Ahmadi, denied the allegations made in the piece, commenting: “How can Jam
have the audacity to publish such lies?” Dr. Ahmadi added that not only did he not know Siamak




61
    See Section 5.2. of this report.
62
   Siamak Pourzand dar Zindan-i 59 Taht-i Nazar-i Sazman-i Zindanha bih Sar Mibarad, [Siamak Pourzand Is In
Prison 59, under the Supervision of the State Prison Organization], IRAN, 10/13/1380 (January 3, 2002).
63
   Peyk-e Iran, Ibraz-i bi Ittila’-i az Vaziyat-i Siamak Pourzand [No Information about Siamak Pourzand], 11/30/1380
(February 19, 2002) (accessed February 19, 2002).
64
    ISNA, Hushdar-i Ra’is-i Commission-i Amniyat-i Milliyih Majlis dar Murid-i Bazsaziyih Sitad-i Qatalhayih
Zanjirih-i [Warning of the National Security Commission of Majlis regarding the re-establishment of Chain Murder
nuclei], 10/14/1380 (January 4, 2002) available at http://isna.ir/isna/NewsView.aspx?ID=News-96091 (last visited on
June 10, 2008).
65
    ISNA, Hushdar-i Ra’is-i Commission-i Amniyat-i Milliyih Majlis dar Murid-i Bazsaziyih Sitad-i Qatalhayih
Zanjirih-i [Warning of the National Security Commission of Majlis regarding the re-establishment of Chain Murder
nuclei], 10/14/1380 (January 4, 2002) available at http://isna.ir/isna/NewsView.aspx?ID=News-96091 (last visited on
June 10, 2008).
66
   Iddi’a-i Darbariyih Siamak Pourzand [A Claim About Siamak Pourzand], NOUROOZ, 16/10/1380 (January 6, 2002)
quoting Jam.
67
   Id.
68
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).




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Pourzand, the AIC had never worked with any journalist inside Iran.69 He emphasized that AIC
was a non-governmental organization that conducted its financial activities transparently.70

On January 13, 2002, the IHRCI informed Siamak Pourzand’s family that it had finally succeeded
in getting the General Director of the Ministry of Justice in Tehran to grant them permission to
visit him.71

4.4. The Fight for Access

On January 13, 2002, Mrs. Mahin Pourzand received a phone call and was told to come to the
Amaken Office on Ostad Motahari Street the following morning to visit her brother.72 This would
be the first occasion on which a member of his family had been granted access to him since his
disappearance on November 24, 2001. Mrs. Pourzand recalled:
         Siamak was brought from somewhere else to the Amaken Office. Four guards
         accompanied him from a car to the Office. He was very weak and frightened. Our visit
         lasted 10 minutes and a plainclothesman was monitoring us all the time. After the visit,
         he was taken back to the car. I don’t know where they took him.73

Many questions still remained unanswered after the visit. The family still did not know where and
under what conditions Siamak Pourzand was being held, who was holding him, and what the
charges against him were. He was still being denied legal representation.

On February 3, 2002, Mahin Pourzand was summoned for a second visit with her brother.74
Afterwards she told Mrs. Kar:
         I went to the Amaken office on Motahari Street. It is under the command of Sergeant
         Sadiqi but he was not present. A man called Kaykavusi was in charge of the office. I
         waited some time there and then he [Siamak] was brought from somewhere else in a car.
         Two persons who did not have uniforms were watching us all the time. One of them
         video recorded our conversations. We talked for almost half an hour and then he was
         driven back to somewhere else.75

During the visit Mrs. Pourzand gained her first insight into why her brother was being held when,
according to Mrs. Kar, he told her:
         Sister, they want to blackmail us. They want to disgrace us. We have lived with honor in
         this country. They want to deny us this honorable life and ruin our public image. They
         want to humiliate us publicly.76


69
     Gooya News, Tawzih Ra’is shawrayih Irani Amrica-i Darbariyih Tawzi’ Millionha Dollar Az Tariq-i Siamak
Pourzand, [Explanation of the Head of the American Iranian Council Regarding Distribution of Millions of Dollars
Through Siamak Pourzand], January 8, 2002, available at http://news.gooya.com/2002/01/08/0801-1.php.
70
   Id.
71
     Khanivadihyih Pourzand ba Vay Mulaqat Mikunand, [Pourzand’s Family Visit Him], NOUROOZ, 10/23/1380,
(January 13, 2002).
72
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
73
    Id. Mrs. Kar recalls her talk with Ms. Pourzand who met Siamak Pourzand in Amaken office on January 14, 2002.
74
    Pars Mass Media in its news section reported that Mrs. Pourzand visited Siamak Pourzand at Ostad Motahari Street
on February 3, 2002, Pars Mass Media, Khabar [News], undated (on file with IHRDC).
75
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC) and Mehrangiz
Kar’s Notes in Her Calendar, 14 Bahman 1380 (February 3, 2002).
76
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC). See also Namiyih
Mehrangiz Kar bih Comission-i Asl-i 90 [Letter of Mrs. Kar to the Article 90 Commission], (April 9, 2002) (on file
with IHRDC).


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When Mrs. Kar later inquired if Mrs. Pourzand knew who was responsible for Siamak Pourzand’s
case, she said she still did not know.77

Mrs. Pourzand was summoned for a third visit on February 22, 2002, in the same Amaken office
as before. However, on this occasion she barely recognized her brother:
         [Siamak] was not like the last two times. He had lost weight and was very thin and very
         frightened. He had a long unkempt beard. He repeatedly asked me not to talk with the
         media about his situation. He told me that it might be our last visit. He did not explain
         what he meant by this. But he said so. He was worn out. He kept looking over his
         shoulder like someone might attack him.78

The visit was reportedly monitored by plainclothesmen.79 Siamak Pourzand was taken to another
location in a car after the visit.80

4.5. Related Arrests

Starting about a month after Siamak Pourzand’s disappearance, Amaken started summoning
writers, journalists, filmmakers, and other intellectuals to appear in its office on Motahari
Street.81 The summonses were conveyed by phone to the accused, contrary to Iran’s Code of
Criminal Procedure that requires all law enforcement agencies to summon the accused in
writing.82 All those who were summoned to Amaken were interrogated about their work and their
political and religious beliefs.83 In most cases, the interrogators used Siamak Pourzand’s alleged
confession as a tool to threaten and coerce those summoned to admit to anti-revolutionary
activities.84

Those summoned most often returned home after a day of interrogations without being detained
any longer. Some were asked to provide written confessions and others were threatened with
imprisonment if they did not cease their political activities. Reformists objected to the Amaken
campaign. Ali Asghar Hadizadeh, a reformist member of Majlis, accused Ayatollah Shahroudi,
the head of the judiciary, of knowingly allowing the law to be violated by his subordinates.85


77
   IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
78
   IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC). See also Pars
Mass Media, Akharin Vaz’iyat-i Siamak Pourzand [Latest News About Siamak Pourzand’s Conditions] February 25,
2002 (on file with IHRDC).
79
   AI Press Release of May 10, 2002, supra note 36.
80
   IHRDC Interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
81
   On February 17, 2002, Iran newspaper published names of some of those who were recently summoned to Amaken
without giving details of how they were treated. The list included: Mohammad Haydari (editor-in-chief of monthly
journal Ghuzarish), Kaveh Golestan (photojournalist), Firuz Goran (editor-in-Chief of Jam’iyih Salim [Healthy
Society]) Ali Dahbashi (editor-in-chief of Bukhara magazine), Omid Rohani, Mohammad Ali Safari, Mohammad
Boloori, Daryoush Shayegan and Bahram Beizaee. See Akharin Guzarish-ha az Majarayih Ihzarhayih Akhir bih
Idariyih Amaken [The Latest Reports Concerning the Recent Summons to Amaken Office], IRAN, 11/28/1380
(February 17, 2002).
82
   See AY’IN-I DADRASIYIH KAYFARI [Iranian Criminal Procedure] article 112-113, (1999).
83
    See RSF, Mawj-i Ihzar va Bazju’iyih Ruznamih Nigaran-i Irani Tavasut-i Niruyih Intizami, [A New Wave of
Summoning of the Iranian Journalists by NAJA], February 2, 2002.
84
   Ihzar-i Ruznamih Nigaran Bih Idariyih Amaken Qayr-i Qanuni Ast [Summoning of Journalists to the Amaken Office
is Illegal], NOUROOZ, 28/11/1380 (February 13, 2002).
85
   BBC Persian, Itiraz bih Ihzar-i Rawshanfikaran bih Marakiz-i Intizami, [Protest Against Summoning of the Free
Thinkers         to        NAJA          Offices],       February         2,        2002,      available      at
http://www.bbc.co.uk/persian/business/020213_amajlis.shtml (last visited on May 15, 2008).


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Seyyed Mohammad Ali Abtahi, Legal Advisor to President Khatami, noted that Amaken and the
NAJA did not have a mandate to summon the journalists.86

The journalists and writers who were summoned to Amaken were warned not to reveal the
identity of their interrogators.87 Few of them talked publicly about how they were treated by
Amaken. Those who talked invariably complained of threat and intimidation, insults and an
environment of fear in which they were threatened to confess to crimes they had not committed.
Firuz Goran, a journalist who was summoned by Amaken, told Nourooz:
         Upon arrival at the Amaken office, I was taken to the basement … I was called to a room
         where two persons were sitting. One interrogator tried to provoke and frustrate me with
         his choice of words and insults. The interrogators asked questions that had nothing to do
         with Amaken’s mandate. Both men wore plain clothes. My impression is that they were
         not NAJA officers … [They] asked me questions about my recent interviews with the
         foreign media.88

On January 31, 2002, Mohammad Ali Safari, a popular attorney and journalist, was summoned by
Amaken. Immediately after his release, he suffered a heart attack. He did not recover and died in
hospital in late February 2002. Before he died, Mr. Safari wrote a complaint to the Article 90
Commission, a commission composed of Majlis members constitutionally mandated to address
private complaints filed against the three branches of government.89 In his letter, Mr. Safari
alleged that his rights had been violated by Amaken and that he was mistreated, insulted, and
aggressively interrogated by plainclothes interrogators.90

Despite all the evidence to the contrary, Mr. Sajadiyan, the head of Amaken, assured the Media
Deputy of the Ministry of Culture and Islamic Guidance that the summonses did not have a
political nature.91

4.6. Appeals to the Majlis

In early January 2002, Mahin Pourzand was able to arrange a meeting with Ayatollah Mehdi
Karrubi, the Speaker of the Majlis, and spoke to him about her brother’s situation for several
hours. She found him sympathetic to Mr. Pourzand’s plight.92 Mehrangiz Kar also appealed to
Ayatollah Karrubi, telephoning his office on January 26, 2002. Mrs. Kar spoke with a man named
Mr. Khudavirdi about her husband:
         I talked with Mr. Khudavirdi in the office of Mehdi Karrubi and expressed my deepest
         concern about my husband’s situation. Then I pleaded for help. I asked Mr. Khudavirdi to



86
   Ihzar-i Ruznamih Nigaran bih Idariyih Amaken Qayr-i Qanuni Ast [Summoning of Journalists to the Amaken Office
is Illegal], NOUROOZ, 28/11/1380 (February 13, 2002).
87
   Hard-liners put Iranian Journalist on Trial on Spying Charge, THE NEW YORK TIMES, March 14, 2002.
88
    See Firuz Goran interview with Nourooz, Ihzar-i Ruznamih Nigaran bih Idariyih Amaken Qayr-i Qanuni Ast
[Summoning of Journalists to the Amaken Office is Illegal], NOUROOZ, 28/11/1380 (February 13, 2002).
89
    See QANUN-I ASSASIYIH JUMHURIYIH ISLAMIYIH IRAN [Constitution of the Islamic Republic of Iran] article 90
(adopted 1979, amended 1989).
90
   Gooya News, Taftish-i Aqayid, Tahdid va Shikanjiyih Ruhi dar Idariyih Amaken, Namiyih Zindiyad Mohammad Ali
Safari bih Commission-i Asl-i 90 [Inquisition, Coercion and Torture in Amaken Office, the Letter of Late Mohammad
Ali Safari to the Article 90 Commission], May 22, 2002, (accessed May 22, 2002).
91
   Ihzar-i Ruznamih Nigaran bih Idariyih Amaken Qayr-i Qanuni Ast [Summoning of Journalists to the Amaken Office
is Illegal], NOUROOZ, 28/11/1380 (February 13, 2002).
92
   IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).


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         convey my message to Karrubi and he said that he had a recording of our conversation
         and would play it to Karrubi.93

The next day, the Majlis discussed Siamak Pourzand’s case in a closed session. 94 Kayhan
reported a sharp division between the conservatives and the reformists in the Majlis about Mr.
Pourzand’s case. Ali Younesi, the Minister of Intelligence, asserted again in Majlis that Mr.
Pourzand’s case was “apolitical,” and he alleged that Mr. Pourzand was charged with “moral
crimes.” Thus, he succeeded in diverting attention from his case and silenced the reformists in the
Majlis.95

In early February 2002, Mehrangiz Kar wrote a letter to the head of the Article 90 Commission
complaining that some of her husband’s fundamental rights were violated by the NAJA, in
particular by Amaken. She asked the Commission to stop the violation of her husband’s rights and
to investigate Amaken’s conduct. She also detailed in the letter how her husband’s rights had been
violated since his abduction.96

4.7. Attempt at Blackmail

Siamak Pourzand’s disappearance received widespread coverage in both the Iranian and
international media. Human rights organizations and journalists’ associations throughout the
world condemned Mr. Pourzand’s arrest.97 On February 14, 2002, the United Nations
Commission on Human Rights Working Group on Arbitrary Detention wrote formally to the
Government of the Islamic Republic of Iran requesting clarification regarding Siamak Pourzand’s
situation.98

The conservatives reacted by pressuring Siamak Pourzand to make his family stop pursuing his
case. On March 8, 2002, Mahin Pourzand called Mr. Pourzand’s family in the United States and
Canada and asked them to stay at home to wait for a telephone call from him. The calls came
through a short while later. Lily Pourzand recalls her father telling her in a trembling voice:
         Please do not interview with any media. Please do not talk with radio and the press.
         Assume I’m dead. Do not try to help me.99

Mr. Pourzand added that he had finally appeared in court and sarcastically commented that he had
received the “good news” that he would soon be transferred to Evin Prison, Iran’s most notorious
public prison.100 Mrs. Mehrangiz Kar commented in an interview with The New York Times on
March 14, 2002, that one could deduce from her husband’s tone the intolerable ordeal he was


93
   Id. See also Mehrangiz Kar’s Notes in Her Calendar, 6 Bahman 1380 (January 26, 2002).
94
    Nowrooz Newspaper, Khabarha-i az Jalasiyih Qayr-i Alaniyih Majlis, Dadgah-i “Siamak Pourzand” [News from
the Closed Session of the Majlis, Trial of “Siamak Pourzand”] NOUROOZ, 11/11/1380 (January 31, 2002).
95
   Nuktih-hayih Khandani az Jalasiyih Qayr-i Alaniyih Majlis [Interesting Points from the Closed Session of the Majlis]
KAYHAN, 11/11/1380 (January 31, 2002).
96
   See Namiyih Mehrangiz Kar bih Ra’is-i Commission-i Asl-i 90 [Letter from Mehrangiz Kar to the Head of Article 90
Comission] (February 2002) (on file with IHRDC).
97
   See AI Press Release of November 27, 2001, supra note 43; BBC Persian, Bi Ittila’-i az Vaz’iyat-i Siamak Pourzand
[No      News      of     Siamak      Pourzand’s     Conditions],     December       28,     2001,     available     at
http://www.bbc.co.uk/persian/news/011228_h-pourzand.shtml (last visited on May 30, 2008).
98
   Working Group Report, supra note 42.
99
   IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
100
    Nazila Fathi, Hard-liners Put Iranian Journalists on Trial on Spying Charges, THE NEW YORK TIMES, March 14,
2002.


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suffering in detention, adding that one could only imagine “the extent of torture and pressure on
him that going to Evin has become a dream and a better place for him.”101

Despite the conservatives’ attempts at intimidation, Siamak Pourzand’s family continued their
media campaign. After giving an interview to the BBC’s Persian Service, Mrs. Kar received a call
from Siamak Pourzand. He left a message for her on her home answering machine:
         Please, please with no one, no one … not you or anyone … from the family interview
         with anyone … You do not know, I do not know… so do not talk with anyone.102

Siamak Pourzand then called his daughter Lily in Canada and left a similar message:
         Please do not, I emphasize, do not, interview with anyone at any condition and at any
         cost. You cannot understand me and you don’t know what my situation is. So please do
         not interview with anyone.103

Mrs. Mahin Pourzand also called Azadeh Pourzand to add her voice to her brother’s:
         Please, I beg you, do not talk with anyone. Say you know nothing, nothing. Because you
         indeed know nothing about what is going on here. It has a repercussion here. So please,
         do not talk with anyone … Let it end. Let it end. Otherwise, it gets worse. So please, do
         not talk and ask your mother as well not to talk with anyone.104

The Pourzand family refused to be intimidated and kept up their media campaign. On March 14,
2002, Siamak Pourzand again called Mrs. Kar from detention. On this occasion an unidentified
third party mediated the conversation, insisting that it was for the good of all concerned that the
conversation be conducted by him:
         The man kept pressing me to tell lie about Siamak. He wanted me to do an interview with
         the media and to declare everything was normal, that Siamak was not mistreated, that he
         was in good health, that his rights were not violated. I did not accept it. Siamak then also
         asked me to tell lies to media – I am confident that he only asked me to do this because
         he was under pressure. Siamak told me that it would be good if I were to lie to the media
         because it would improve his situation. I said I could not do it. Then he said, “If you do
         not do the interview, they will blackmail us and will publish whatever they have against
         us.” To which I said, “To hell, let them do it. You also confess to whatever they want.
         Who will believe it? We’ll do what we must, no matter what.”105


5. The Secret Prisons
In early 2001, members of the Majlis learned that the conservative establishment was using a
series of secret prisons to hold political detainees. The Article 90 Commission investigated these
reports. At a press conference in October 2002, Commission member Ali Akbar Musavi-Khu’ini
announced: “As you know, various intelligence, security, military and law enforcement agencies
had special and sometimes secret detention facilities in the past. They were not monitored and
sometimes they created trouble. [For instance,] for long periods of time families of the detainees

101
     Id. See also BBC Persian, Mara Murdih Farz Kunid [Consider Me Dead], March 9, 2002, available at
http://www.bbc.co.uk/persian/news/020309_l-pourzand.shtml (last visited on June 27, 2008).
102
    Text of the message left on Mehrangiz Kar’s answering machine (March 8, 2002).
103
    Text of the message left on Lily Pourzand’s answering machine (March 8, 2002).
104
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
105
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).


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had no information about them and there was not one individual authority responsible and
accountable for these locations. In fact, the law gives the State Prison Organization (SPO) the
responsibility to monitor and administer these prisons and requires each prison to be registered
with the SPO.”106 He named several of the detention centers concerned including Prison 59,
Amaken, Towhid, Hishmatiyih, Natib and Vuzara. He added that both the IRGC and the Ministry
of Intelligence had given a commitment that they would close these facilities and transfer their
prisoners to Evin Prison.107 While the IHRDC has not been able to establish a complete
chronological record of Siamak Pourzand’s detention, we have reason to believe that he was held
in at least three of these so-called “secret prisons” before his eventual transfer to Evin.

5.1. Amaken
The parallel intelligence services used Amaken’s offices as secret facilities to carry out
interrogations and to detain intellectuals and dissidents. In 2002, many journalists and
government critics were detained and interrogated in one of Amaken’s main offices located on
Motahari Street in Tehran.

It was in the Motahari Street office that Siamak Pourzand met with his sister, Mahin Pourzand.
The first lawyer engaged by the family to represent Mr. Pourzand, future Nobel laureate Mrs.
Shirin Ebadi, twice visited the Amaken office in an attempt to gain access to her client. On both
occasions Mrs. Ebadi was told by the guards that while Mr. Pourzand had been held in the
building for a few days, he had now been transferred elsewhere.108 She was not told where Mr.
Pourzand was taken or who took him.

Detainees who were held at this location describe it as a basement on two floors run by
plainclothesmen. Typically, the detainees are held in the same cells as ordinary criminals arrested
by the Amaken in the course of its statutory duties. Several political detainees have spoken about
the fear they experienced being held together with criminal offenders. One detainee commented:
         I was very scared by the people I was held with. They were criminals and killing for them
         was a very easy thing. Some of them had stabbed each other inside the prison and the
         authorities were lashing them there.109

Ali Akbar Musavi-Khu’ini was able to gain access to Amaken’s Ostad Motahari Street detention
facility during the course of the Article 90 Commission’s investigation:
         At the time of our visit, we announced that it was an improper place for a detention
         center. [Our recommendation] was supposed to be followed up. Unfortunately, the
         problem still exists. There is serious confusion concerning the management of this
         facility. It has been announced that this complex is managed by the Intelligence
         Protection Organization of the Judiciary. The media has reported that many people have
         been summoned to this facility for interrogation.110


106
    ISNA, Izharat-i Seyyed Ali Akbar Musavi Khu’ini Darbarihyih Vaz’iyat-i Zindanha va Bazdashtgahhayih Tehran
[Ali Akbar Musavi Khu’ini’s, Majlis Representative, Makes Statement about Tehran’s Prison and Detention Facilities],
07/27/1381, (October 19, 2002), available at http://www.isna.ir/Main/NewsView.aspx?ID=News-166055, (last visited
on June 28, 2005) (hereinafter Statement of Tehran Representative) [attached as Appendix 2].
107
    Id.
108
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
109
    IHRDC phone interview with a former member of the Office of Intelligence Protection of the Army in Iran (Witness
A), United States, May 2, 2008 (on file with IHRDC).
110
    Statement of Tehran Representative, supra note 106. ,


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5.2. Prison 59

On January 3, 2002, the conservative newspaper Iran reported that Siamak Pourzand was being
held in Prison 59 of Ishratabad.111 Human Rights Watch has described Prison 59 as “one of the
more notorious illegal prisons” in Iran and has reported that it is used for extracting confessions
from the detainees that do not confess in Evin Prison.112 Detainees are subjected to solitary
confinement in order to cut them off from information and break them psychologically:
         Prison 59 is controlled by the intelligence service of the IRGC and is located in their
         compound in Vali Asr, Tehran. Prison 59 is composed of a series of small cells and
         interrogation rooms. There are also two large holding areas equipped with video cameras.
         Prisoners held in Prison 59 report being kept in absolute solitary confinement and facing
         the harshest interrogation methods that they have experienced.113

The IHRDC has received information suggesting that Siamak Pourzand was held in Prison 59 for
the period in January and February 2002, most likely coinciding with Mahin Pourzand’s third
meeting with him on February 22, 2002.

5.3. Khatam-ul Anbiya
Siamak Pourzand was subsequently transferred to a third undeclared detention facility known as
Khatam-ul Anbiya. The existence of this facility was not addressed by the Article 90
Commission. The prison is located in a residential complex that belongs to the NAJA on Seoul
Street in north Tehran. A section of this residential complex is used by the military, and Khatam-
ul Anbiya prison is located in this section of the complex. It has been suggested that the parallel
intelligence agencies established Khatam-ul Anbiya prison after senior members of the IRGC
promised the Majlis that they would shut down Prison 59.114

Former detainee Hassan Zarezadeh Ardeshir told the IHRDC that Siamak Pourzand had been
held in Khatam-ul Anbiya shortly before his own arrival at the facility on May 11, 2002.115 Mr.
Zarehzadeh told IHRDC that a criminal detainee who was in Khatam-ul Anbiya at the same time
as Mr. Pourzand described how the elderly journalist had been treated by his captors:
         Pourzand was severely mistreated in Khatam [-ul Anbiya]. The interrogators were
         insulting him, abusing him, and making him stand with arms raised facing the wall for
         hours and hours. He was weak and could not bear this pressure. His waist was aching and
         he was asking for mercy, but the interrogators were pressuring him further and made him
         stand even longer. He was interrogated for hours and hours, and during interrogation, the
         authorities were insulting him. He was told that if he did not cooperate, they would
         blackmail him by threatening to charge him with sex offenses. He was made to sweep the
         prison. He was under huge pressure. He wanted to take his life and attempted to commit
         suicide.116



111
    Siamak Pourzand dar Zindan-i 59 Taht-i Nizarat-i Sazman-i Zindanha Bih Sar Mibarad [Siamak Pourzand is in
Prison 59 Under the Control of the State Prison Organization] IRAN, 13/10/1380 (January 3, 2002).
112
    See Human Rights Watch, Like the Dead in Their Coffins; Torture, Detention, and the Crushing of Dissent in Iran,
June 2004, available at http://hrw.org/reports/2004/iran0604/ (last visited June 15, 2008).
113
    Id.
114
    IHRDC interview with Hassan Zarezadeh Ardeshir, United States, February 15, 2008 (on file with IHRDC).
115
    Id.
116
    Id.


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Mr. Zarehzadeh, a political prisoner like Siamak Pourzand, described his own treatment at
Khatam-ul Anbiya prison, which he believed was used to extract confessions from particularly
stubborn prisoners:
          I had been arrested five times before and each time I was held in secret prisons like
          Prison 59… and mistreated in those locations for months. But none of those locations
          were as horrible as this one. I was held in Khatam [-ul Anbiya] for one month and in one
          month my hair turned gray. Khatam [-ul Anbiya] was the worst of all the secret prisons I
          had been in ... the interrogators crush you until you believe you are not a human being
          anymore and not worth a penny.117


6. Siamak Pourzand on Trial

6.1. The Nature of the Trial

On March 6, 2002, the judiciary began court proceedings against Siamak Pourzand.118 Mr.
Pourzand did not have access to defense lawyers during the four months he had been held in
secret prisons, nor was he represented in court by a lawyer of his own choosing. The authorities
did not bring any formal charges against him. A trial held in such circumstances was a flagrant
breach of both widely recognized international legal standards and of domestic Iranian law [see
Section 10 below].119

On March 9, 2002, the conservative newspaper Iran announced that Siamak Pourzand’s trial on
charges of committing “crimes against national security” 120 had begun two days previously. The
paper reported that the trial was held at the Special Court of Mehrabad, Branch 1610, under the
auspices of Judge Ja’far Sabiri Zafarqandi. The newspaper further reported that Mr. Pourzand
was represented by a lawyer and had confessed to the charges filed against him in the first session
of the trial.121

None of the charges against Mr. Pourzand were made public before the trial. Moreover, prior to
the trial, the authorities had made contradictory public statements concerning the case against
him. Ali Younesi, Minister of Intelligence, had told the Majlis that the charges against Mr.
Pourzand were “apolitical.”122 The office of the General Director of the Ministry of Justice in



117
    Id.
118
     Human Rights Watch (HRW), Iran: “Trial” A Mockery of the Law, March 13, 2002, available at
http://hrw.org/english/docs/2002/03/13/iran3809.htm (last visited on May 15, 2008).
119
     Mr. Pourzand’s family did not receive any prior notification of his appearance in court. Typically, it is the
responsibility of the defense attorney to keep the family appraised of developments in a suspect’s case. See Nazila
Fathi, Hard-liners Put Iranian Journalists on Trial on Spying Charges, THE NEW YORK TIMES, March 14, 2002.
120
    Crimes against national security have a broad definition in Iran. For instance, article 498 of the Islamic Penal Code
of Iran defines the crime of national security as: “Anyone with any intention who establishes or controls a group,
organization, or a branch that has more than two members inside or outside the country, under any name, that disrupt
the national security of the country provided that the person is not guilty of the crime of Maharib, would be sentenced
to two to eleven years of imprisonment.” For more information see QANUN-I MUJAZAT-I ISLAMI [Islamic Penal Code]
Book Five, Crimes against the National and International Security of Iran, (1996).
121
    Nukhustin Jalasiyih Muhakimiyih “Siamak Pourzand” Barguzar Shud [First Session of Siamak Pourzand’s Trial
Convened], IRAN, 18/12/1380 (March 9, 2002).
122
     Nuktih-hayih Khandani az Jalasiyih Qayr-i Alaniyih Majlis [Interesting Points from the Closed Session of the
Majlis], KAYHAN, 11/11/1380 (January 31, 2002).


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Tehran made a similar assertion when contacted by the IHRCI.123 The authorities never explained
why the Pourzand investigation had been spearheaded by Amaken with its limited mandate to
monitor moral crimes when the charges ultimately brought against him proved to be mostly of a
political nature.

The Pourzand family has rejected the authorities’ claim that Siamak Pourzand had received the
legal representation to which he was entitled. Mrs. Kar said that the judge presiding over Mr.
Pourzand’s case had excluded the lawyer the family had engaged on his behalf.124 On December
3, 2001, Mrs. Kar had asked Mrs. Shirin Ebadi, already a well-known human rights lawyer in
Iran, to defend her husband.125 Judge Sabir Zafarqandi barred Mrs. Ebadi from representing Mr.
Pourzand:
         I asked Shirin Ebadi to represent my husband and she accepted the case … When she
         submitted her legal representation forms to the court, Judge Zafarqandi denied her the
         right to represent Siamak. She told me that Judge Zafarqandi received her very rudely
         and alleged her that she was an abettor and a suspect in the case. She told me that she had
         never been scared in her whole life as much as she was scared by the threatening words
         of Judge Zafarqandi.126

                                              The Pourzand family then tried to introduce another
                                             defense lawyer, Qulam Ali Riyahi, but Mr. Pourzand
                                             refused to permit Mr. Riyahi to defend him, stating
                                             publicly that he was happy with his court-appointed
                                             lawyer, Mr. Dabir Daryabigi. Mr. Pourzand was reported
                                             as saying: “Since I have confessed to my crimes, it doesn’t
                                             matter whether I have my own lawyer or one assigned by
                                             the court.”127 Mahin Pourzand learned from a former
                                             inmate held with Mr. Pourzand that Judge Zafarqandi had
                                             personally pressured him to reject Mr. Riyahi.128

                                         On March 12, 2002, Iran reported that Siamak Pourzand
                                         had made a second appearance in court.129 According to
 Mr. Dabir Daryabeigi, Siamak Pourzand’s the newspaper, Mr. Pourzand was asked if he wanted to
         court-appointed attorney        offer a defense to the nine charges brought against him,
                                         and he had simply repeated his confession in the court,
asserting that he had no defense and he was guilty of all the crimes he was charged with.130
According to the report, Mr. Pourzand admitted that he had acted against Iran’s national security
by providing news and information to anti-regime elements, that he had provided information
about the country to his brother in France, that he had spied and collaborated with SAVAK (the
former Shah’s intelligence service), that he had contacts with senior anti-regime figures outside
the country and had relayed information to them, and that he had direct contact with Reza

123
    Dadgustari dar Jaryan-i Dastgiriyih Pourzand Ast [Ministry of Justice Is Aware of Pourzand’s Arrest], NOUROOZ,
11/10/1380, (January 1, 2001).
124
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
125
     See Vikalatnamiyih Mehrangiz Kar bih Shirin Ebadi [Request of Mehrangiz Kar from Shirin Ebadi for Legal
Representation] 09/12/1380, (December 3, 2002).
126
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
127
    Melli-Mazhabi Website, Pourzand Vakil-i Ta’ini ra Rad Kard [Pourzand Rejected the Elected Attorney], March 12,
2002 (accessed on March 13,2002) quoting from Nourooz newspaper.
128
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
129
    Duvvumin Jalasihyih Dadgah-i Siamak Pourzand Barguzar Shud [Second Session of Siamak Pourzand Trial Was
Held], IRAN, 12/21/1380, (March 12, 2002).
130
    Id.


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Pahlavi, the eldest son of the former Shah. The only allegation, according to the paper, that Mr.
Pourzand rejected was the charge of receiving money from Reza Pahlavi.131 The newspaper only
listed five of the nine charges he was facing.

Reza Pahlavi officially denied the allegation that Siamak Pourzand had been in contact or
received money from him. In an interview with an Iranian journal in Toronto, he said:
         I firmly deny this allegation. I have never had any direct contact or any financial
         relationship with this innocent and unfortunate person.132

The leading conservative newspaper, Kayhan, whose editorial line is set by the Office of the
Supreme Leader, published an editorial on March 13, 2002, commenting on Mr. Pourzand’s
appearance in court under the headline: “There You Go, Here Is an Example.”133 Kayhan
challenged the reformists to explain their position regarding Mr. Pourzand, whom the newspaper
noted had confessed to acting against national security, having a relationship with “anti-
revolutionary elements,” spying, and collaborating with SAVAK. Kayhan speculated that the
reformists were supporting Mr. Pourzand because they shared his agenda.134

On March 19, 2002, Iran reported that Mr. Pourzand had made a third and final appearance in
Court.135 The newspaper, however, still did not detail all nine charges brought against him, and
four of these charges remain a mystery to this day.136 According to the paper, Mr. Pourzand asked
for clemency and forgiveness.137 In his closing remarks, Judge Zafarqandi stated that NAJA
would continue to summon those mentioned in Mr. Pourzand’s confession to account for their
actions and that any outstanding cases would be dealt with after the Iranian New Year
(Nawruz).138

6.2. The Family Again Appeals for Help

The Pourzand family continued their efforts on Siamak Pourzand’s behalf, despite his conviction.
On March 20, 2002, Azadeh Pourzand again wrote to President Khatami asking him to follow up
on her father’s case.139 Mrs. Kar sent a series of letters to senior governmental officials, including
Seyyed Mohammad Ali Abtahi, Legal Advisor to the President; Mr. Mehdi Karrubi, the Speaker
of the Majlis; Mr. Musavi Khu’ini, Majlis Representative; and Mr. Mirdamadi, Head of the
National Security Commission of the Majlis. In each letter, Mrs. Kar highlighted the illegal




131
    Id.
132
    Reza Pahlavi Pardakht-i Pul bih Pourzand ra Takzib Kard, [Reza Pahlavi Denied Having Paid Money to Pourzand],
SHAHRVAND Toronto, April 2, 2002.
133
    Bifarma’id, In Ham Yik Nimunih [There You Go, Here Is an Example], KAYHAN, 12/22/1380 (March 13, 2002).
134
    Id.
135
    Akharin Jalasiyih Muhakimiyih Siamak Pourzand Da’ir Shud [The Last Session of Siamak Pourzand’s Trial Was
Held], IRAN, 12/28/1380 (March 19, 2002).
136
    The family does not have the charge sheet, but the five charges were all mentioned in Iran on March 12, 2002.
137
    Akharin Jalasiyih Muhakimiyih Siamak Pourzand Da’ir Shud [The Last Session of Siamak Pourzand’s Trial Was
Held), IRAN, 12/28/1380 (March 19, 2002).
138
    Id.
139
     BBC Persian, Namiyih Dukhtar-i Siamak Pourzand Bih Mohammad Khatami, [Letter of Siamak Pourzand’s
Daughter to Mohammad Khatami], March 21, 2002, available at http://www.bbc.co.uk/persian/news/020321_a-
pourzand.shtml (last visited May 15, 2008).


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nature of her husband’s arrest and the way he had been treated from the time of his arrest until the
time of his conviction.140

Mrs. Kar also sent President Khatami a letter asking him to guarantee her safety so that she could
return to Iran to visit her husband. The President replied by discouraging the visit. He later told
Mrs. Kar in a September 2006 conversation at Harvard University:141
         After I received your letter asking me to ensure your safe return to the country, I
         discussed your request with the National Security Commission, the Interior Ministry, and
         the head of the judiciary. They all agreed to ensure your safe return to the country.
         However, the head of the judiciary, although he wanted you to return to the country,
         could not ensure that you would not be arrested by others. Since he did not give me
         strong assurances for your safety, I told you not to come.142

At the Harvard meeting, President Khatami also told Mrs. Kar directly that he had played no part
in her husband’s arrest:
         “My administration” he said “did not have a hand in Pourzand’s arrest.” He added
         “[T]here were other forces inside the regime that arrested him and it was the job of the
         parallel intelligence agencies’ work.” He told me: “My administration had nothing to do
         with it.” Then I said to him, “Mr. President! What difference does it make to him and his
         desperate family?”143

The family was initially unable to gain access to Siamak Pourzand after his conviction. Finally,
after the intercession of the Article 90 Commission, Mahin Pourzand was allowed to see her
brother on May 3, 2002.144 The meeting again took place in the Amaken office on Motahari
Street. As usual, Mr. Pourzand was brought from an unknown location for the visit and was taken
away afterwards. Mr. Pourzand’s cousin, Forouz, also went with Mrs. Pourzand but was refused
access to him. Mahin Pourzand told Mrs. Kar that he looked extremely weary and complained of
a toothache.145 He spoke very little.146




140
    See Namiyih Mehrangiz Kar bih Mohammad Ali Abtahi, Mushavir-i Huquqiyih Mohammad Khatami [Letter of
Mehrangiz Kar to Mohammad Ali Abtahi, the legal advisor to President Khatami], (April 5, 2002) (on file with
IHRDC); Namiyih Mehrangiz Kar bih Mehdi Karrubi, Sukhanguyih Majlis [Letter of Mehrangiz Kar to Mehdi Karrubi,
the Speaker of the Majlis], (April 5, 2002) (on file with IHRDC); Namiyih Mehrangiz Kar bih Musavi Khu’ini,
Namayandihyih Majlis [Letter of Mehrangiz Kar to Musavi Khi’ini, Representative of Majlis], (April 25, 2002) (on file
with IHRDC); Namiyih Mehrangiz Kar bih Comission-i Asl-i Navad [Letter of Mrs. Kar to the Article 90 Commission],
(May 16, 2002) (on file with IHRDC) [attached as Appendix 3]; Namiyih Mehrangiz Kar bih Mohsen Mirdamadi,
Ra’is-i Commission-i Amniyat-i Milli va Siasat-i Kharijiyih Majlis [Letters of Mehrangiz Kar to Mohsen Mirdamadi,
the Head of the National Security and Foreign Policy Commissions of Majlis], (April, 5, 2002) (on file with IHRDC).
141
    Former President Khatami was invited to speak on the “Ethics of Tolerance in the Age of Violence” and answer
audience questions at the Kennedy School of Government’s John F. Kennedy Jr. Forum on Sunday September 10,
2006. For more information see Alvin Powell, Khatami praises democracy, slams U.S. action, Harvard University
Gazette, September 10, 2006, available at www.news.harvard.edu/gazette/2006/09.14/99-khatami.html (last visited
July 23, 2008).
142
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
143
    Id.
144
    AI Press Release of May 10, 2002, supra note 36.
145
    Id. See also Gooya News, Ittila’iyih Khanivadiyih Pourzand Darbariyih Vaz’iyat-i Siamak Pourzand [Statement of
Pourzand’s family about Siamak Pourzand’s Situation], May 9, 2002 (accessed June 10, 2002).
146
    Gooya News, Ittila’iyih Khanivadiyih Pourzand Darbariyih Vaz’iyat-i Siamak Pourzand [Statement of Pourzand’s
family about Siamak Pourzand’s Situation], May 9, 2002 (accessed June 10, 2002) See also Vazi’yat-i Namusa’id-i
Siamak Pourzand [Unfavorable Condition of Siamak Pourzand], SHAHRVAND, May 10, 2002.


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6.3. Sentencing

On May 4, 2002, Iran newspaper reported that Siamak Pourzand had been sentenced to eight
years’ imprisonment.147 The paper also reported that Mr. Pourzand had “expressed deep
remorse,” adding that he had told the court that he “had manipulated his friends for his own
purposes” intending “to change the mindset of the Iranian people.”148 Mr. Pourzand had received
a comparatively light sentence, in the paper’s opinion, because he was “an old man who had
expressed remorse and regret.”149 On May 6, 2002, Iran reported that Mr. Pourzand had been
transferred to Evin prison, noting that he had apparently been held “in Amaken’s detention
center” during his trial. The paper also reported that his sentence would likely be revised upwards
by a higher court.150

On May 15, 2002, the Iranian Student News Agency (ISNA) carried an interview with Judge
Sabiri Zafarqandi, head of the Mehrabad Special Court that had tried Siamak Pourzand. Judge
Zafarqandi contradicted several details given in the previous media coverage of Mr. Pourzand’s
trial.151 He stated that Mr. Pourzand had been sentenced to eleven years’ imprisonment – not
eight.152 Judge Zafarqandi also added that Mr. Pourzand still potentially faced the serious charge
of Maharib153 - literally at war with God – and that he remained under investigation.154

The charges Siamak Pourzand was convicted of in May 2002 each carried maximum penalties of
no more than ten years’ imprisonment – including the crimes against the national security that
Judge Zafarqandi described as “establishing a group or a society with more than two members
inside or outside the country and directing it with the intention to disrupt the security of the




147
    Siamak Pourzand bih 8 Sal Zindan Mahkum Shud [Siamak Pourzand Was Sentenced to 8 Years’ Imprisonment],
IRAN, 2/14/1381 (May 4, 2002). See also BBC Persian, Mahkumiyat-i Siamak Pourzand bih 8 Sal Habs [Siamak
Pourzand        Sentenced      to      8     Years’       Imprisonment],       May       4,    2002,       available      at
http://www.bbc.co.uk/persian/news/020504_h-pourzand.shtml (last visited on May 15, 2008).
148
    Id.
149
     Id.
150
     Siamak Pourzand Tahvil-i Zindan-i Evin Shud [Siamak Pourzand Was Handed Over to Evin Prison], IRAN,
2/16/1381 (May 6, 2002).
151
    ISNA, Dadgah-i Badvi Siamak Pourzand ra bih 11 Sal Habs Mahkum Kard, [The Primary Court Sentenced Siamak
Pourzand        to    11     Years’       Imprisonment],      2/25/1381       (May       16,    2002)       available     at
http://www.isna.ir/isna/NewsView.aspx?ID=News-127196 (last visited July, 24, 2008).
152
    Judge Zafarqandi stated that Siamak Pourzand had been convicted of the following crimes: i) propaganda against
the Islamic Republic, ii) spying for a foreign country that had harmed Iran’s national and cultural security, iii)
provoking and deception of the masses to disrupt the security of the country, iv) encouragement and persuasion to
commit acts of corruption and moral turpitude, v) illegitimate affair, and vi) consumption of alcohol. For more
information, see id.
153
    Article 183 of the Islamic Penal Code of Iran defines Maharib as “Anyone who pulls weapons with the intention to
intimidate, create fear, denies freedom to the public and disrupts public security is Maharib”; Article 187 defines
Maharib as “Anyone or any group that plans to overthrow the Islamic Republic and for this purpose arranges weapons
and ammunition, and also anyone that cooperates with any one or any group that intends to overthrow the Islamic
Republic or arranges financial assistance and weapons and other necessary tools for them is Maharib;” Article 190
states that the crime of Maharib is punishable by (1) killing, (2) hanging, (3) amputation of first the right hand then left
leg, or (4) Nafyih balad [Exile]; Article 195 also prescribes crucifixion for the crime of Maharib. For more information,
see QANUN-I MUJAZAT-I ISLAMI [Islamic Penal Code] articles 183 and 190 (1991).
154
    ISNA, Dadgah-i Badvi Siamak Pourzand ra bih 11 Sal Habs Mahkum Kard, [The Primary Court Sentenced Siamak
Pourzand        to    11     Years’       Imprisonment],      2/25/1381       (May       16,    2002)       available     at
http://www.isna.ir/isna/NewsView.aspx?ID=News-127196 (last visited July, 24, 2008).


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country.”155 The charge of Maharib, which can potentially be a capital crime, was substantially
more serious.156

Judge Zafarqandi told the ISNA that Mr. Pourzand had been transferred “to a military base for
further interrogation”157 and that a number of individuals named in his confession had yet to be
interviewed. Judge Zafarqandi added that Mr. Pourzand would not be subjected to the physical
punishment prescribed for offenses of a sexual nature – ninety-nine lashes – but would be fined
instead because of his age. 158 However, Judge Zafarqandi explained that the physical punishment
for consuming alcohol could not similarly be commuted because this was a hadd offense (a crime
against God rather than society).159 The ISNA reported that Mr. Pourzand’s defense lawyer
planned to lodge an appeal.

In a separate development on May 14, 2002, the head of the State Prison Organization, Mr.
Morteza Bakhtiyari, told the newspaper Nourooz that he did not know where Siamak Pourzand
was being held nor who was holding him, and recommended that Nourooz’s reporter contact the
court that had sentenced Siamak Pourzand for this information.160 The State Prison Organization
later clarified Mr. Bakhtiyari’s statement in a letter written to Nourooz on May 19, 2002,
confirming that Siamak Pourzand was being held in a prison under the control of the State Prison
Organization but withholding precise details of his whereabouts.161

On May 27, 2002, Siamak Pourzand was brought back to the Mehrabad Special Court, to answer
unspecified further questions from Judge Zafarqandi. He had recently suffered a heart attack and
was still in the process of recovering.162 The ISNA reported that Mr. Pourzand had once more
admitted the charge against him and had confessed to the crime he was charged with.163 In an
interview granted to an ISNA reporter during the course of the day, Mr. Pourzand said that he did
not know where he was held during the first few months of his detention. He added that now he
was being kept in solitary confinement but did not indicate where.164 Mr. Pourzand’s court-
appointed lawyer, Mr. Dariabigi, also told the ISNA that Mr. Pourzand had not been transferred
to Evin prison. He did not name the facility in which he was being held but added that Mr.
Pourzand would be transferred to Evin once the Maharib investigation was closed.165 At the time
of writing, this investigation appears to remain open and continues to hang over Mr. Pourzand.



155
     See QAVANIN-I JAZA’I [Iranian Criminal Law] Chapter 1: Crime Against National Security, article 498- 500, 501,
and 508 (1991).
156
     See id., article 190-191, 195 (1991).
157
     ISNA, Dadgah-i Badvi Siamak Pourzand ra bih 11 Sal Habs Mahkum Kard, [The Primary Court Sentenced Siamak
Pourzand          to     11     Years’     Imprisonment],     2/25/1381   (May      16,    2002)      available    at
http://www.isna.ir/isna/NewsView.aspx?ID=News-127196 (last visited July, 24, 2008).
158
     Id.
159
     Id. See also Islamic Penal Code of Iran, Chapter 28: Consumption of Alcoholic Drink and Gambling, article 702,
(1991).
160
     See Izhar-i Bi Itilla’iyih Ra’is-i Zindanha az Vaziyat-i Siamak Pourzand [Head of the State Prison Organization
Expresses Having No Knowledge of Siamak Pourzand’s Condition], NOUROOZ, 2/24/1381 (May 14,2002).
161
     Siamak Pourzand dar Bazdashtgah-i Sazman-i Zindanha Nigahdari Mishavad [Siamak Pourzand Is Being Kept in
the State Prison Organization’s Detention Center], NOUROOZ, 2/29/1381 (May 19, 2002).
162
     Pourzand Family’s Statement: Siamak Pourzand had a heart attack, May 10, 2002 (on file with IHRDC).
163
     ISNA, Pourzand: Itithamat-i Varidih ra Pazirufti’am [Pourzand: I’ve Accepted the Charges Against Me], 3/06/1381
(May 27,2002) available at http://isna.ir/isna/NewsView.aspx?ID=News-130644 (last visited on June 6, 2008).
164
    Id.
165
     ISNA, Vakil Mudafi’i Siamak Pourzand: Dadgah Dar Khusus-i Ittiham-i Digar-i Pourzand Dar Hal-i Tahqiq Ast
[Siamak Pourzand’s Defense Attorney: The Court Is Still Investigating Pourzand’s Other Charge], 04/25/1381, (July
22, 2002) available at http://isna.ir/isna/NewsView.aspx?ID=News-141374 (last visited on June 10, 2008).


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In early June 2002, Yaletharit Al-Hussayn, the official newspaper of the paramilitary organization
Ansar-i Hizbullah, reported that Siamak Pourzand was now being investigated for a previously
undisclosed offense, irtidad (apostasy),166 which like Maharib, can potentially carry the death
penalty.167 The newspaper condemned Mr. Pourzand’s former journalistic activities and objected
to his previous sentence as being too light when weighed against “his plethora of crimes.” Mrs.
Kar said that when she heard of these new investigations she concluded:
        Apparently, they were not able to get him to confess to a crime that carried the death penalty.
        Since they were determined to kill him, they kept changing the charges against him to find a
        way to execute him.168

Hard-line conservatives kept up a drumbeat of criticism against Mr. Pourzand in advance of his
appearance before Tehran’s Court of Appeal, prejudicing any chance he had of receiving a fair
hearing. One conservative newspaper, Resalat, even went so far as to publish a story ten days
before the Court of Appeal met to consider Mr. Pourzand’s case, stating that it had already upheld
the lower court’s findings.169 Mrs. Kar immediately contacted Siamak Pourzand’s court-
appointed lawyer, Mr. Dabir Daryabigi:
        After the news was published by Resalat, I contacted Mr. Daryabigi. I asked him if the news
        was true. He said it could not be. As far as he knew, the verdict was not confirmed yet. He
        said that he was regularly in touch with the court and the court was debating the issue. The
        hard-line press had come to know about the decision before the defense. In principle, this act
        violated the suspect’s right to a fair trial.170

When the Court of Appeal finally gave its ruling, the verdict was as Resalat had predicted. The
sentence of eleven years’ imprisonment was upheld:171
        It was the outcome the hard-liners wanted. The hard-liners were openly trying to influence the
        court decision. They were not simply expressing their opinion, but they were prescribing what
        the outcome should be.172

Some eight months after his original abduction and two months after being sentenced by the
Mehrabad Special Court, Siamak Pourzand was still being held in an unknown location. The

166
    The interpretation of Shi’a law practiced by the Islamic Republic (based on interpretations of Khomeini’s Risalih)
defines conversion away from Islam into another faith – irtidad or apostasy – as an offense that under certain
circumstances may be punishable by death. See AYATOLLAH RUHOLLAH KHOMEINI, TAHRIR AL-WASILAH (Beirut:
Tawzi’ Dar al-Ta’ruf lil-Matbu’aat) 366, 494-495 (1984).
167
    Gooya News, Ansar-i Hizbullah, Ittihamat-i Siamak Pourzand-ha Boycott-i Khabari Mishavad [Charges of People
Like Siamak Pourzand Is Boycotted for Broadcasting by the Media], June 1, 2002 (accessed June3, 2002).
168
    IHRDC interview with Mrs. Mehrangiz Kar, United States, May 4, 2008 (on file with IHRDC). See also Namiyih
Mehrangiz Kar bih Comission-i Asl-i 90 [Letter of Mrs. Kar to the Article 90 Commission], (May 16, 2002) (on file
with IHRDC).
169
    Peyk-e Iran, Dadgah-i Tajdid-i Nazar Pas az Barrisiyih Hukm-i Sadirih bar Alayhih Siamak Pourzand In Hukm ra
Ta’id Kard [The Appeal Court Upheld the Verdict Issued Against Siamak Pourzand], June 24, 2002 (accessed June 24,
2002) quoting Jam-e Jam and Resalat newspapers.
170
    IHRDC interview with Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC). See also Namiyih
Mehrangiz Kar bih Musavi Khu’ini, Namayandihyih Majlis [Letter of Mehrangiz Kar to Musavi Khi’ini,
Representative of Majlis], (July 11, 2002) (on file with IHRDC).
171
    See Peyk-e Iran, Dadgah-i Tajdid-i Nazar Pas az Barrisiyih Hukm-i Sadirih bar Alayhih Siamak Pourzand In Hukm
ra Ta’id Kard [The Appeal Court Upheld the Verdict Issued Against Siamak Pourzand], June 24, 2002 (accessed June
24, 2002) quoting Jam-e Jam and Resalat newspapers.
172
    IHRDC interview with Mrs. Mehrangiz Kar, United States, Jan 4. 2002; see also Namiyih Mehrangiz Kar bih Mehdi
Karrubi, Ra’is-i Majlis [Letter of Mehrangiz Kar to Mehdi Karrubi, Head of the Majlis], (July 11, 2002) (on file with
IHRDC); and Namiyih Mehrangiz Kar bih Musavi Khu’ini, Namayandihyih Majlis [Letter of Mehrangiz Kar to Musavi
Khu’ini, Representative of the Majlis], (July 11 2002) (on file with IHRDC).


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authorities neither allowed the IHRCI nor the Article 90 Commission to meet Mr. Pourzand, nor
did they inform either organization about his whereabouts.173

6.4. Further Arrests
Siamak Pourzand’s appearance at the Court of Appeal was followed by a second round of
interviews and arrests led by Amaken agents. The film producer, Abbas Kiarustami; the
filmmaker, Payam Fazlinejad; the former political editor of the pre-revolutionary incarnation of
Kayhan, Alireza Farahmand; the chief editor of Asia Economic Journal, Iraj Jamshidi; the editor
of Gardun, Isma’il Jamshidi; and the human rights lawyer, Shirin Ebadi174 were all among those
summoned to the offices of Amaken. The allegations laid against all of these figures were similar
– membership in a network aspiring to culturally overthrow the Islamic Republic, revealed by Mr.
Pourzand’s confession.175

In response to criticism in the reformist press regarding Amaken’s actions, Mr. Hassan Zakeri, the
NAJA’s Deputy for Public Relations, said that Amaken was implementing an order given to it by
the judiciary. He added that all those who had received a summons to be interviewed had been
identified from Siamak Pourzand’s confession.176 The head of the public relations office of
Amaken issued a similar statement in an interview with the Emrooz website claiming that the
“summonses were ordered by Judge Sabiri Zafarqandi, head of the Mehrabad Special Court.”177

 Although those summoned by Amaken were initially interviewed about alleged public morality
offenses, most soon found the focus of their interviews shifting to crimes of a more political
nature outside Amaken’s jurisdiction, such as espionage and cooperating with anti-revolutionary
elements. For instance, Payam Fazlinejad in an interview with Shahrvand newspaper said that he
was first summoned to Amaken regarding an allegation that he had produced morally corrupt
movies. At the end of his interrogation, he was instructed to return the following week. On his
return to Amaken a week later, he was charged with spying and aiding and abetting acts of
espionage. The charge related to his work as Siamak Pourzand’s assistant at the Tehran Arts and
Cultural Center.178

In another interview with the Toronto-based expatriate weekly, Shahrvand, Mr. Fazlinejad
described how the Amaken agents had tried to bribe him to implicate other individuals who had

173
    Id. See also Namiyih Mehrangiz Kar bih Mehdi Karrubi, Sukhanguyih Majlis [Letter of Mehrangiz Kar to Mehdi
Karrubi, Speaker of the Majlis], (July 11, 2002) (on file with IHRDC) (No-198); and Namiyih Mehrangiz Kar bih
Musavi Khuini, Namayandihyih Majlis [Letter of Mehrangiz Kar to Musavi Khu’ini, Representative of the Majlis],
(July 11 2002) (on file with IHRDC).
174
    Shirin Ebadi seems to be the last person who was summoned on July 23, 2002. See Guftuguyih Ikhtisasiyih
Shahrvand ba Payam-i Fazlinejad Piramun-i Ihzar-i Viy Bih Amaken, [Exclusive Interview of Sharvand with Payam
Fazlinejad About his Summoning to Amaken], SHAHRVAND, July 30, 2002.
175
    See Pyknet, Mardum Mipursand, dar Tehran Hadisih’i dar Sharaf-i Vuqu’ Ast, [People Wonder If Something Is
About to Happen in Tehran], July 3, 2002 (accessed July 3, 2002).
176
    See Ihzar-i Ruzanihnigaran bih Idariyih Kull-i Nizarat bar Amakin-i Umumi Rabti bih Niruyih Intizami Nadard,
[The Summoning of Journalists to the Central Office of Amaken Has Nothing to Do with the Law Enforcement
Forces], NOUROOZ, 05/02/1381 (July 24, 2002). See also Izharat-i Rais-i Markaz-i Ittila’ Risaniyih NAJA darbariyih
Libas Shakhsiha va Ihzar-i Ruznamih Nigaran [Statement of the Head of NAJA’s Information Office Regarding
Summoning of Journalist and Plain-clothed Persons], INTIKHAB, 05/02/1381 (July 24, 2002).
177
    The newspaper does not mention the name of Amaken’s public relations representative. See Guftuguyih Ikhtisasiyih
Shahrvand ba Payam-i Fazlinejad Piramun-i Ihzar-i Viy Bih Amaken, [Exclusive Interview of Sharvand with Payam
Fazlinejad About his Summoning to Amaken], SHAHRVAND, July 30, 2002.
178
    See Guftuguyih Ikhtisasiyih Shahrvand ba Payam-i Fazlinejad Piramun-i Ihzar-i Viy Bih Amaken, [Exclusive
Interview of Sharvand with Payam Fazlinejad About his Summoning to Amaken], SHAHRVAND, July 30, 2002.


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been named in Siamak Pourzand’s confession. When he refused to cooperate with Amaken, the
agents threatened to charge him with various political crimes before finally releasing him.179 He
said of his experience:
         In the Amaken Office they never tell you what you are suspected of and one never knows
         who one’s talking to, what his position is or what title should be used to address him …
         [After I was released], because I had not been given any food the whole time, I was
         placed on an IV and could not work for the next three days.180


6.5. Televised Confession

On July 24, 2002, Iranian state television
broadcasted a press conference with Siamak
Pourzand.181 The press conference was staged at
the Mehrabad Special Court, and Judge
Zafarqandi and several other government
officials were present.182 The ISNA reported that
questions had been distributed in advance to the
journalists present by the judicial authorities and
that the reporters had been strictly enjoined to
only ask questions from the prepared list. Mr.
Pourzand’s court-appointed lawyer, Dabir
Daryabeigi, told the media that the press                Siamak Pourzand’s televised confession
conference had been organized at Mr. Pourzand’s
request to refute false reports that had appeared in the media concerning his situation.183 The
press conference was one of the main news items that evening and was featured in news bulletins
throughout the day.184

During the press conference, Siamak Pourzand denounced his past activities but also tentatively
challenged aspects of his conviction. He admitted contact with Reza Shah with the aim of
promoting a non-conformist agenda in the Iranian media but denied receiving money from him.
He admitted promoting western culture but again denied receiving any funding from abroad to do
so. When a journalist asked Mr. Pourzand if he had been tortured, he replied: “I was not tortured.


179
    Id.
180
    Id.
181
    Amnesty International, Further Information, Disappearance, Possible Extra-judicial Execution, Fear of Possible Ill
Treatment,          or     Torture,      Siamak       Pourzand,        July    31,      2002,       available      at
http://www.amnesty.org/en/library/asset/MDE13/011/2002/en/dom-MDE130112002en.html (last visited on May 15,
2008).
182
     The Confession show was staged a few weeks after Mrs. Kar was awarded the National Endowment for
Democracy’s 2002 Democracy Award by Laura Bush at a Capitol Hill reception on July 9, 2002. See Democracy
newsletter, Laura Bush Presents 2002 Democracy Award to Muslim Women Activists, Summer 2002 newsletter,
available at http://www.ned.org/publications/newsletters/summer02.html (last visited on May 15, 2002); See BBC
Persian, I’tirafat-i Matbu’atiyih Siamak Pourzand, [Media Confession of Siamak Pourzand], July 25, 2002, available
at http://www.bbc.co.uk/persian/news/020724_he-purzand.shtml (last visited on May 15, 2008).
183
    Id. See also Izharat-i Tazihyih Siamak Pourzand dar Dadgah, [New Confessions of Siamak Pourzand in Court],
IRAN, 05/04/1381 (July 26, 2002); Siamak Pourzand Savabiq-i Khud ra Ifsha Kard, [Siamak Pourzand Exposed his
Past], INTIKHAB, 05/05/1381 (July 27, 2002); ISNA, Siamak Pourzand Fa’liyathayih Siyasi va Matbu’atiyih Khud ra
Tashrih Kard [Siamak Pourzand Described his Political and Press Activities], 05/02/1381 (July 24, 2002) available at
http://isna.ir/isna/NewsView.aspx?ID=News-143553 (last visited July 23, 2008).
184
    Iran TV shows dissident ‘confessing’ to be Spy, REUTER, July 25, 2002.


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There was no need for it. I had confessed to my crimes.”185 He concluded the press conference by
expressing remorse for his past acts and asking for forgiveness.186

Mr. Pourzand seemed very upset during the press conference, at one point sobbing
uncontrollably.187 He seemed frightened, frequently glancing off camera as if concerned that he
had made a mistake. When a reporter posed a question that Mr. Pourzand had apparently not been
expecting, he turned to his lawyer and said: “This was not one of the questions – what should I
say?” He became particularly agitated when journalists put similar questions to him for a second
time. He seemed concerned that he was not adequately performing the role expected of him,
pleading with journalists: “Please, ask again if you want me to elaborate on something or if there
is something ambiguous.”188

Watching footage of the press conference, Mrs. Kar commented:
         He was afraid that he would be tortured if he did not give the expected answers to the
         questions. Perhaps that is why he kept asking the journalists to ask a follow-up question –
         he wanted to make sure he had answered the questions put to him to the authorities’
         satisfaction. I was also stunned to see his attorney participating in such a farce. It is a
         defense lawyer’s duty to protect his client’s rights – not to sit next to him on a TV
         show.189


6.6. “The Suite”

After the July 2002 press conference, Siamak Pourzand was transferred to another unidentified
detention facility, which he has referred to in conversations with his family only as “the suite.”190
Prisoners held in “the suite” describe it as a huge, dark cell, 12 meters in length and 4 meters in
width, that is monitored by a video camera.191

Siamak Pourzand’s mistreatment did not stop after his appearance on television. In one of the
interviews they gave to the media, his family complained that he was being badly fed and
physically beaten. They specifically mentioned that he was not being given any fresh fruit. The
guards responded to this criticism by forcing Mr. Pourzand to eat a huge amount of cucumber
every day, a diet that soon made him ill. His daughter, Lily Pourzand, explains:
         My father was suffering from diarrhea from being forced to eat cucumber every day. We
         said in an interview that money taken from him by the authorities was not being used to
         cover his expenses. The authorities then created more trouble for my father. We
         specifically mentioned in our interview that my father was not given fruit, then the
         authorities, instead of giving him fruit, forced him to eat only cucumbers. As far as I
         know, they were placing cucumber inside his small refrigerator inside his room. They
         were making fun of him and were telling him by saying “[E]at and eat. Your family had
         complained you were not given fruit.” They were not allowing him to throw the
         cucumbers away. They were even checking his toilet to see if he had not thrown the




185
    Text of Siamak Pourzand’s Televised Confessions (on file with IHRDC).
186
    Id.
187
    Id.
188
    Id.
189
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
190
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
191
    Interview with Witness B, United States, February 25, 2008.


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         cucumber away. So he was chewing the cucumber and then was spitting the remnants
         secretly in the toilet.192

In a phone call from the prison made in the presence of his court-appointed lawyer, Mr.
Daryabeigi, Siamak Pourzand told Mrs. Kar that she had exacerbated his situation:
         What a problem you have caused for me! You have complained I was not given fruit, now
         I’m forced to eat huge piles of cucumber every day.193

According to his daughter Lily, Siamak Pourzand eventually attempted to commit suicide while
being held in “the suite” by using his trousers as a noose, but the guards were sufficiently vigilant
to prevent his attempt from being successful. He was reportedly physically beaten by the guards
after his failed suicide attempt.194


7. Political Reaction
Siamak Pourzand’s confession was exploited as a political lever by Iran’s conservative clerical
establishment. The conservatives used the confession to call into question the patriotism and
religious bona fides of the reform movement by labeling them as the defenders of a man proven
by the courts to be “morally corrupt and on the payroll of the West.” This campaign was waged at
the very highest level. Iran’s Supreme Leader, Ayatollah Khamenei, was quoted by the BBC’s
Persian Service as stating in July 2002:
         This [Pourzand’s] confession confirmed the warnings we have been receiving for many
         years about the cultural invasion and the efforts of the enemy’s agents to promote cultural
         transformation inside our country.195

Ayatollah Ahmad Jannati, Secretary of the Guardians’ Council, also condemned the reformists
for taking up Mr. Pourzand’s case. At a sermon delivered during Friday prayers in Tehran on July
27, 2002, he said:
         When [Siamak] Pourzand was arrested, the reformist newspapers reported the incident as
         if a freedom fighter had been arrested. After his confession, it has become clear to what
         centers these newspapers are connected and what plans they hope to execute with
         American dollars.196

Jannati also asked Islamic Republic of Iran Broadcasting (IRIB) to show the press conference
featuring Siamak Pourzand’s confession as many times as possible.197 Ali Larijani, then head of
IRIB and one of the most influential figures among the conservative movement,198 suggested that

192
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
193
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 28, 2008 (on file with IHRDC).
194
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
195
    BBC Persian, Nishanih-hayih Napayda dar Parvandihyih Pourzand [Invisible Signs in Pourzand’s Case File], July
31, 2002, available at http://www.bbc.co.uk/persian/news/020731_a-jb-pourzand.shtml (last visited on May 15, 2008).
196
    Jannti dar Khutbih Hayih Namaz-i Jum’i: Khat-i Nifaq dar Astaniyih Rusva’i Ast [Jannati in the Speech of the
Friday Prayer: The Dissent Plan is on the Verge of Being Exposed], RESALAT, 05/05/1381 (July 27, 2002).
197
     Sida va Sima Harchih Mitavanad Itirafat Pourzand ra Pakhsh Kunad [IRIB Should Broadcast Pourzand’s
Confession As Much As Possible], AFTAB, 05/05/1381 (July 27, 2008).
198
    Ali Larijani is the son of Ayatollah Hashem Amoli and the son-in-law of late Ayatollah Morteza Motahari. He is a
former member of the Revolutionary Guards Corps. He served as Minister of Culture and Islamic Guidance under
President Rafsanjani and as president of Islamic Republic of Iran Broadcasting (IRIB) from 1994 to 2004. He left the
IRIB to become a security adviser to Supreme Leader Ayatollah Ali Khamenei and in 2005 was appointed secretary of
the Supreme National Security Council in which capacity he acted as Iran’s nuclear negotiator in its discussions with


                                                        31
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it might even be necessary to bring Mr. Pourzand back in front of the cameras to answer a second
round of questions:
         With respect to the ongoing political discussion these days, it might be better if Siamak
         Pourzand is allowed to publicly talk again and clarify the situation more.199

The leading conservative newspaper Kayhan published a prominent editorial following Mr.
Pourzand’s press conference criticizing the judiciary and intelligence services for waiting so long
to act and ignoring the newspaper’s repeated warnings that the “USA’s fifth column” was very
active in Iran’s media. The paper then recommended that since Mr. Pourzand was not the only
member of this “fifth column,” the judiciary and intelligence services should actively pursue and
arrest the rest of the group.200 In the words of the Chief Editor of Kayhan, Hossein Shariatmadari:
         Not only do we not deny that Pourzand’s confession was based on a scenario we have
         been writing about, but Kayhan takes pride that, for a while now, we have been speaking
         of this western plot and exposing it by providing undeniable evidence and documents
         showing the role played by western espionage networks in Iran’s political and cultural
         arenas.201

The conservatives did not stop at simply dwelling at length on the nature of Siamak Pourzand’s
confession but also published a series of articles in the conservative press further defaming his
character. In early December 2002, Kayhan published a series of articles purporting to expose
unsavory details about Mr. Pourzand’s private life.202

A number of prominent members of the reformist movement did initially continue to defend Mr.
Pourzand after his televised appearance, even though he was not himself a political figure.
Reformists questioned the legitimacy and admissibility of Mr. Pourzand’s public confession,
which they dismissed as an invention of the conservative “propaganda machine.”203 Ahmad
Zaydabadi, a member of the Board of Directors of the Journalists Union, told the Islamic
Republic News Agency (IRNA) on July 27, 2002:
         Pourzand’s confessions revealed a plan prepared a long time ago … Propaganda was
         repeated by Pourzand to the satisfaction of those who prepared it … The executive parts
         of the plan started a while ago with summoning certain journalists, artists and writers to
         the Amaken office and interrogating them … Pourzand’s confession did not finalize this
         plan; it just exposed it.204



the international community. Larijani ran unsuccessfully as a conservative candidate for the presidency in 2005, losing
to Mahmoud Ahmadinejad.
199
    BBC Persian, Nishanih-hayih Napayda dar Parvandihyih Pourzand [Invisible Signs in Pourzand’s Case File], July
31, 2002, available at http://www.bbc.co.uk/persian/news/020731_a-jb-pourzand.shtml (last visited on May 15, 2008).
200
    Dar Piy’i Izharat-i Sarih-i Siamak Pourzand Irtibat-i Ruznamih-hayih Zanjir’i ba Mahafil-i Biganih Ifsha Shud,
[Pursuant to Siamak Pourzand’s Confession the Relationship of the Chain Newspapers with the Foreign Assemblies
Are Exposed], KAYHAN, 04/31/1381 (July 22, 2002).
201
    BBC Persian, Nishanih-hayih Napayda dar Parvandihyih Pourzand [Invisible Signs in Pourzand’s Case File], July
31, 2002, available at http://www.bbc.co.uk/persian/news/020731_a-jb-pourzand.shtml (last visited on May 15, 2008).
202
     Lalih Yarahmadi, Siamak Pourzand, Karnamihyih Yik Dallal-i Vabastih bih Biganih az Nazparvardihgi ta
Kuditayih Farhangi [Siamak Pourzand: Biography of a Middleman Who Relied on Foreign Forces, from Living a
Luxurious Life to the Cultural Coup], KAYHAN, 09/18-25/1381 (December 2-9, 2002).
203
    Peyk-e Iran, Ahmad Zaydabadi Guft: Itirafat-i “Siamak Pourzand” az Sinariyuh-i kih Mah-ha Pish Tahiyih Shudih
Bud Pardih Bardasht va Anra Ifsha Kard [Ahmad Zaydabadi Said: Siamak Pourzand’s Confessions Disclosed and
Exposed a Scenario that Was in the Make for Many Months], 05/05/1381 (July 27, 2002) (accessed on July 30, 2002)
quoting Islamic Republic News Agency, IRNA.
204
    Id.


                                                         32
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Similarly, Reza Yusufiyan, a reformist member of the Majlis, noted:
         Extracting confessions is an old and untrustworthy method … These confessions are
         more likely to be part of a political project and scenario than a national security issue.205

Ansari Rad, head of the Article 90 Commission, issued a statement arguing that since Siamak
Pourzand’s detention was unknown and his trial was not public, “the condition under which the
confession was taken is not clear and so the confession does not have any legal standing.”206
Mohammad Ali Abtahi, President Khatami’s Legal Advisor, commented, “the way Siamak
Pourzand’s confession was taken is unacceptable to the majority of the population.”207 Another of
President Khatami’s advisors, Ata’ullah Muhajirani, also rejected Siamak Pourzand’s confession,
telling the newspaper I’timad:
         I personally do not trust the confessions taken in prison. I believe a confession is only
         valid when the person confessing or interviewed is in an open and free environment, far
         from the dominance of a security and disciplinary force.208

However, the conservatives gradually gained the upper hand, and reformist politicians began to
disassociate themselves from Siamak Pourzand. The spokesman for President Khatami’s
government, Abdullah Ramizanzadih, told reporters on July 31, 2002:
         Pourzand’s confession is admissible with respect to his own crimes, and the judicial
         authorities should treat him accordingly. As far as what he has said about others, until
         competent judicial courts form an opinion regarding this, we should avoid making
         judgments.209

The following day a representative of the Article 90 Commission, Dr. Davud Hassanzadigan, told
the reformist newspaper Resalat:
         In my opinion, Pourzand’s confessions have more of a historical relevance; his
         connection to anti-revolutionary elements is undeniable. However, there is not any
         document supporting his claim that he had the ability to influence the reformist
         publications. Pourzand is a wayward and corrupt individual; unfortunately, our
         intelligence agencies did not stop him even though they knew of his situation.210


205
    Peyk-e Iran, Reza Yusufiyan, Yik Uzv-i Firaksiyun-I Musharikat dar Majlis-i Shurayih Islami Guft: Itirafgiri Yik
Ravish-i Qadimi va Gayr-i Qabil-i Itimad Ast [Reza Yusufiyan, a Member of the Majlis’ Partnership Fraction Said:
Extracting Confessions Is an Old and Untrustworthy Method.], 05/06/1381 (July 28, 2002) (accessed on July 29, 2002),
quoting Islamic Republic News Agency, IRNA.
206
    Emrooz, Ra’is-i Comission-i Asl-i Navad-i Majlis: Malum Nist Itirafat-i Pourzand dar Chih Sharayiti Giriftih
Shudih Ast [Head of the Article 90 Commission of Majlis: It Is Not Known Under What Circumstances Siamak
Pourzand’s Confessions Were Taken], 05/07/1381 (July 29, 2002) (accessed on July 29, 2002).
207
    Peyk-e Iran, Mohammad Ali Abtahi dar Yaddashti kih dar Shumariyih Ruz-i Dushanbihyih Ruznamih Iran Chap
Shudih bih Ira’iyih Ittila’t-I Muhimmi Darbarihyih Parvandihyih Siamak Pourzand Pardakhtih Ast [In his Note
Published in the Monday Issue of Iran Newspaper, Mohammad Ali Abtahi Provided Important Information Regarding
Pourzand’s Case File], 05/07/1381 (July 29, 2002) (accessed on July 29, 2002), as quoting IRNA; Didgah-i Abtahi
Darbarihyih Itirafat-i Pourzand [Abtahi’s Opinion Regarding Pourzand’s Confessions], INTIKHAB, 05/08/1381 (July
30, 2002).
208
    Pyknet, Imruz Bayad ba America Muzakirih Kard, Farda Dir Ast, [We Must Negotiate with United States Today,
Tomorrow Is Too Late], 05/23/1381 (August 14, 2002) (accessed on august 14, 2002), quoting Itimad newspaper.
209
    BBC Persian Nishanih-hayih Napayda dar Parvandihyih Pourzand [Invisible Signs in Pourzand’s Case File], July
31, 2002, available at http://www.bbc.co.uk/persian/news/020731_a-jb-pourzand.shtml (last visited on May 15, 2008).
210
    Hassanzadigan Mokhbir-i Commission-i Asl-i 90: Irtibat-i Pourzand ba Anasur-i Zidd-i Inqilab Qay-i Qabil-i Inkar
Ast, [Hassanzadigan, Rapporteur of the Article 90 Commission: Relationship of Siamak Pourzand with Anti-
Revolutionary Elements is Undeniable], RESALAT, 05/10/1381 (August 1, 2002).


                                                        33
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Siamak Pourzand had been abandoned by the reformists. Mrs. Kar later noted bitterly that her
husband was a political outsider and so this “was an outcome that was expected.”211


8. Temporary Release
On November 30, 2002, Siamak Pourzand was temporarily released from custody.212 His release
came a week before the scheduled visit of European Union delegates to Iran.213 The European
Union’s High Representative for Common Foreign and Security Policy, Javier Solana, had
reportedly raised Mr. Pourzand’s case with President Khatami during a preliminary meeting on
August 2, 2002.214 Mr. Pourzand’s daughter, Lily Pourzand, takes up the story:
         One day when my father was being held in “the suite,” he was ordered to pack his clothes
         and other items and leave the room. He was told that he was free and he could go home.
         But my father did not want to leave. He was not sure why he was being released and why
         authorities wanted him to leave his cell without any previous notice. So he was suspicious
         of their intentions. But finally, they made him to pack his clothes and took him to Evin
         prison. In Evin prison he was handed over to his step-sister, Minoo Pourzand, because
         Mahin Pourzand was out of the country at that time.215

Once back at his step-sister’s house Mr. Pourzand began exhibiting signs of serious physical and
mental distress:
         He was 45kg when he was released and he had not been allowed to bathe for a long time.
         He was afraid of taking shower. It was so unnatural that we believe he might have been
         subjected to mistreatment. He was scared of water. He did not want to shave his beard or
         have his hair cut.216

Mr. Pourzand had also become incontinent in prison:
         He was soiling himself. He had never had such a problem before his detention. He had
         many surgeries after his release for conditions that had developed while he was detained,
         and one of them was related to this problem.217

On December 17, 2002, the Iranian authorities granted the European Union envoys access to visit
Mr. Pourzand at his stepsister’s home.218 However, he did not remain free for long after their
visit. Within three months, he had been rearrested and transferred to Evin prison.




211
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).
212
    Amnesty International, Prisoner of Conscience Appeal Case - Siamak Pourzand: A Case Study of Flagrant Human
Rights Violations, May 2004, available at http://www.amnesty.org/en/library/asset/MDE13/025/2004/en/dom-
MDE130252004en.html (last visited on May 15, 2008) (hereinafter Amnesty: Prisoner of Conscience Appeal)..
213
      Amnesty International, Iran Country Report 2003, AI Index POL 10/003/2003, available at
http://asiapacific.amnesty.org/report2003/irn-summary-eng (Last accessed July 24, 2008).
214
    Peyk-e Iran, Akhbar [News], August 2, 2002 (accessed on August 2, 2002).
215
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
216
    IHRDC interview with Mrs. Mehrangiz Kar, United State, January 4, 2008 (on file with IHRDC).
217
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).
218
    Id.


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9. Evin Prison
In March 2003, Siamak Pourzand was summoned to Evin Prison. He obeyed the summons and
was met at the prison by his court-appointed attorney, Dabir Daryabeigi, and by Judge Ja’far
Sabiri Zafarqandi. He was urged to implicate further individuals and he refused.219 Judge
Zafarqandi asked him to write a book based on his confession.220 Siamak Pourzand demurred,
saying that he was too old, and too sick, and thus physically unable to write a book. Then Judge
Zafarqandi suggested that the authorities write the book under his name and he simply stand
behind it. Siamak Pourzand refused to do this as well.221 In April 2003, he was summoned back to
Court, where he was again instructed to cooperate with the authorities. He once more refused and
he was sent back to Evin prison.222

Student activist Ali Afshari was being held in Evin when Siamak Pourzand arrived at the prison.
He recalled:
         He was very quiet and dispirited. He was not talking and was very scared and fearful. We
         tried to raise his spirits and get him out of his depression but he was very scared.223

Meanwhile, Mr. Pourzand’s court-appointed attorney, Dabir Daryabeigi, gave an interview to the
ISNA in which he confirmed that Mr. Pourzand had been detained at Evin. He claimed that he
was trying to secure Mr. Pourzand’s temporary release on bail but added, “since Pourzand has no
family here and his [immediate] family lives abroad, and also considering that his physical
condition is not very favorable due to his old age, he preferred to stay in prison.”224 Mrs. Kar
vigorously rejected Daryabeigi’s claim:
         The conservatives had reached to the end of their game. Siamak’s presence was not useful
         any more for them. He was an old man and they wanted to get rid of him.225

Former Evin detainee Kianoosh Sanjari echoed Mrs. Kar’s comments in an article published on
the website Gooya that alleged that the Iranian authorities had been deliberately denying Mr.
Pourzand the medical care he needed in the hope that he would succumb to his illnesses. He
described Mr. Pourzand’s poor state of health:
         While I was in Block 7 of Evin Prison, I clearly witnessed the extent of Mr. Pourzand’s
         ailments and incapacity. In those days he could barely walk and his consumption of pain-
         killers had exacerbated this condition. At the time, he should have been taken out of
         prison for an MRI but it didn’t happen. A fall, a winter and a spring passed … before he
         was transferred to a hospital, Siamak Pourzand could not even stand on his feet … he had
         suffered many heart problems in prison. Dr. Farzad Hamidi, [another political prisoner],




219
    IHRDC interview with Lily Pourzand, February 28, 2008 (on file with IHRDC). See also Amnesty: Prisoner of
Conscience Appeal, supra note 212.
220
    IHRDC interview with Lily Pourzand, February 28, 2008 (on file with IHRDC).
221
    Id.
222
    Amnesty: Prisoner of Conscience Appeal, supra note 212.
223
    IHRDC interview with Ali Afshari, United States, February 16, 2008 (on file with IHRDC).
224
     ISNA, Vakil Mudafi’-i Siamak Pourzand: Umidvaram Muvakilam Murid-i U’tufat-i Islami Qara Girad va Afv
Shavad [Siamak Pourzand’s Defense Attorney: I hope that my Client is Subject to Islamic Kindness and Pardoned],
12/15/1381 (March 5, 2004).
225
    IHRDC interview with Mrs. Mehrangiz Kar, United States, January 4, 2008 (on file with IHRDC).


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         would come to his aid and, with the help of others, would take Pourzand to the prison
         clinic, which had no medical equipment.226

Another fellow prisoner, Ahmad Batebi, also spoke to reporters about Mr. Pourzand’s condition:
         Siamak Pourzand is suffering from a number of physical ailments such as spinal pain,
         heart problems, high blood pressure, and blood clots in his legs, which are very visible.
         [There are] bruises on his calves, hamstrings, and arms. [Siamak] showed his various
         physician’s statements to us and on one of them I saw that his physician had strongly
         recommended that he should be under constant observation by a specialist for a year.227


9.1. UN Working Group on Arbitrary Detention Report

On May 9, 2003, the United Nations Commission on Human Rights Working Group on Arbitrary
Detention issued an opinion regarding Siamak Pourzand’s case.228 The government of Iran had
responded to the Working Group’s February 2002 request for information regarding Mr.
Pourzand’s arrest and detention, stating that he had been arrested following a complaint submitted
by a secretary at the Tehran Cultural Center, Ms. Venus Farimehr.229 The Iranian authorities
confirmed that his arrest had been ordered by the General Court of Tehran on November 22,
2001, and that he had been brought before the court on November 24, 2001. The Iranian
authorities claimed that he had been held in preventive detention in a facility controlled by the
State Prison Organization, which was not the case. They also stated that he had been transferred
to Evin prison on May 27, 2002, which was also untrue.

The Iranian authorities finally confirmed details of the charges brought against Mr. Pourzand,
stating that he had been convicted of moral infractions and abuses according to article 637 and
639 of the Penal Code, spreading propaganda against the Islamic Republic of Iran according to
Article 500 of the Penal Code, spying against the Iranian State under Articles 501 and 505 of the
Penal Code, and undermining State security under Article 512 of the Penal Code.230 The Iranian
government added in its response that Mr. Pourzand had been found guilty of all charges and was
condemned to eleven years’ imprisonment, a fine of one million rials, and to suffer eighty lashes.
The Iranian government also claimed that the Tehran Court of Appeal confirmed this judgment
on May 21, 2002, although contemporary reports in the government-controlled Iranian media
place this event toward the end of June 2002.231 There was no mention made of the possibility of
further charges being brought against Mr. Pourzand.

The Working Group was not persuaded by the government of Iran’s submission, noting that “the
reference to ‘propaganda’ against the Islamic Republic of Iran gives rise to serious doubts about
the real nature and the motivation of the charges brought against [Siamak Pourzand].”232 The
Working Group concluded that “Mr. Pourzand was prosecuted against and convicted to a prison
term because of his convictions and the expression of his opinion”233 and requested the
government of Iran take “the necessary steps to remedy the situation of Syamak [sic] Pourzand in

226
    Gooya News, Zindaniyan-i Siyasi va Aqidati, Usarayih Jumhuriyih Islami [The Political and Conscious Prisoners,
Hostages of the Islamic Republic], April 20, 2004 (accessed April 21, 2004).
227
    Peyk-e Iran, Musahiabih Ahmad Batebi Darbarihyih Vaziyat-i Zindan [Interview with Ahmad Batebi About the
Prison Conditions], August 25, 2004 (accessed on August, 25, 2004).
228
    Working Group Report, supra note 42.
229
    Id.
230
    Id.
231
    Id.
232
    Id.
233
    Id.


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order to bring it into conformity with the provisions and principles incorporated in the Universal
Declaration of Human Rights and in the International Covenant of Civil and Political Rights, to
which the Islamic Republic of Iran is a Party.”234

9.2. Failing Health

Siamak Pourzand was kept in Ward Three of Evin Prison
until he suffered a severe heart attack in April 2004. The
prison authorities wanted to send Mr. Pourzand to a
government-run hospital, but he refused, declaring that he
would not go to a hospital run by the IRGC or the
government because he was afraid he “might be injected
with lethal medicine or an air bubble in those
facilities.”235 The Iranian news agency Peik net reported
that Mr. Pourzand had requested he be given the right to
select his own doctor. According to the news agency, Mr.                             Siamak Pourzand in hospital
Pourzand had said:

          “I would rather die in prison than in the Sepah’s Baqiyat’ullah hospital!”236

Despite Mr. Pourzand’s critical condition, his request to consult a doctor of his own choosing was
rejected. When his sister paid him a visit in Evin on April 19, 2004, she found he was unable to
walk unaided into the visiting room.237

Later that night Siamak Pourzand was hospitalized in the critical care unit of Sa’databad
Hospital. The guards accompanying him refused to let reporters speak to him.238 The Islamic
Human Rights Commission of Iran was also refused access to him.239 Only his sister was allowed
to visit him. She later told Peyk-e Iran that during her visit “the guards kept monitoring our
conversation.”240 Mr. Pourzand was chained to the hospital bed at both the wrists and ankles.241

Peyk-e Iran also recounted that doctors were not hopeful for Mr. Pourzand’s recovery as they had
discovered that he was suffering from a number of additional ailments, including bladder

234
    Id.
235
     Pyknet, Siamak Pourzand: Bray-i Marg Haziram Ama dar Zindan, Na dar Bimiristan-i Baqiyat’ullah-i Sepah
[Siamak Pourzand: I Would Rather Die in Prison than in Sepah’s Baqiyat’ullah Hospital], April 20, 2004 (accessed on
April 20, 2004).
236
     Id. See also RSF, Reporters Without Borders outraged at Siamak Pourzand’s treatment in hospital, The
organization will hold the Iranian authorities responsible for the deterioration in the journalist’s state of health, April
20, 2004, available at http://www.rsf.org/article.php3?id_article=9821 (last visited on May 15, 2008).
237
    RSF, Reporters Without Borders outraged at Siamak Pourzand’s treatment in hospital, The organization will hold
the Iranian authorities responsible for the deterioration in the journalist’s state of health, April 20, 2004, available at
http://www.rsf.org/article.php3?id_article=9821 (last visited on May 15, 2008).
238
    On April 20, 2004, Islamic Republic News Agency (IRNA) reported that Siamak Pourzand’s guard did not allow
him to speak to its reporters. See also BBC Persian, Siamak Pourzand dar Bimaristan Bastari Shud [Siamak Pourzand
Was Hospitalized], April 20, 2004, available at http://www.bbc.co.uk/persian/iran/story/2004/04/040420_he-
pourzand.shtml (last visited on May 15, 2008), quoting IRNA.
239
    Gooya News, Pourzand Mamnu’ul Mulaqat Shud [Siamak Pourzand Is Prohibited from Having Visitors], April 21,
2004 (accessed April 21, 2004).
240
    Peyk-e Iran, Dar Utaq Mamur-i Police Huzur Darad va Mulaqatha ba Huzur-i Mamur-i Police Anjam Mishavad
[There Is a Police Officer in the Rooms and Visits are Monitored by Him], April 20, 2004 (accessed on April 20,
2004).
241
    IHRDC interview with Lily Pourzand, United States, February 28, 2008 (on file with IHRDC).


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problems.242 Reporters Without Borders issued a press release stating that the organization was
“revolted” by Mr. Pourzand’s treatment and promising to hold the Iranian authorities responsible
for any further deterioration in his condition.243

On April 20, 2004, Judge Zafarqandi ordered the hospital authorities not to allow anyone to visit
Mr. Pourzand at the hospital,244 although he was allowed to speak to his wife and daughter on the
telephone. In a conversation on April 22, Mr. Pourzand told them that if he didn’t receive surgery
on his spine immediately there was a real chance that he would be paralyzed for the rest of his
life.245

The authorities finally relented, and Siamak Pourzand was temporarily discharged from Evin
prison to receive treatment at a better equipped facility.246 After multiple surgeries, he was sent
home to recuperate, where he still remains at the time of writing. However, Mr. Pourzand has not
completed his sentence and continues to live under the constant threat of being returned to Evin to
serve out his term. Mr. Pourzand remains in poor health. His wife and daughters cannot return to
Iran to care for him for fear of arrest, and he has been denied permission to travel abroad for
further medical treatment. As he lost both of his former jobs after his arrest, he has no source of
income to sustain himself.


10. Violations of National and International Law
One of the most striking aspects of Siamak Pourzand’s case is the degree to which the
conservative clerical establishment was prepared to subvert the rule of law within Iran by
ignoring Siamak Pourzand’s constitutional rights and the Islamic Republic’s own judicial rules,
as well as international human rights law.

10.1. Violations of Iranian Law

Siamak Pourzand’s method of arrest, detention, and trial violated aspects of the Constitution of
the Islamic Republic, as well as Iran’s Code of Criminal Procedure. When Siamak Pourzand was
arrested, he was not shown an arrest warrant. He was abducted outside his sister’s house by
plainclothesmen who did not publicly identify themselves. Such an act is prohibited by Article 32
of the Iranian Constitution,247 and Articles 112248 and 119249 of Iran’s Code of Criminal


242
    Gooya News, Siamak Pourzand dar Astanihyih Marg Ast [Siamak Pourzand Is on the Verge of Death], April 18,
2004 (accessed April 18, 2004).
243
    Peyk-e Iran, Guzarishgaran-i Bidun-i Marz: Vaziyat-i Salamat-i Siamak Pourzand Nigran Kunandih Ast [Reporters
Without Boarders: Siamak Pourzand’s Health Condition is Deeply Concerning], April 18, 2004 (accessed on April 18,
2004).
244
    Gooya News, Siamak Pourzand Mamnu’ul Mulaqat Shud [Siamak Pourzand Is Prohibited from Having Visitors],
April 21, 2004 (accessed April 21, 2004); Hal-i Siamak Pourzand Bihbud Yaft [Siamak Pourzand’s Health Is
Improving], SHARQ, 02/02/1381 (April 22, 2004).
245
    IHRDC interview with Mrs. Mehrangiz Kar, United States, February 4, 2008 (on file with IHRDC).
246
    Gooya News, Khabarnamih [News Bulletin], April 23, 2004 (accessed April 23, 2004).
247
    Article 32 Of the Iranian Constitution asserts that “No one may be arrested except by the order and in accordance
with the procedure laid down by law. In case of arrest, charges with the reasons for accusation must, without delay, be
communicated and explained to the accused in writing, and a provisional dossier must be forwarded to the competent
judicial authorities within a maximum of twenty-four hours so that the preliminaries to the trial can be completed as
swiftly as possible. The violation of this article will be liable to punishment in accordance with the law.” See
Constitution of Iran, supra note 4, article 32.
248
    Iran’s Code of Criminal Procedure, article 112 says: “The accused shall be summoned by an arrest warrant. There
should be two copies of the arrest warrant; one is served to the accused and the other must be signed by the accused and


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Procedure. Article 121 of the Code of Criminal Procedure also requires such arrests to be carried
out during the daylight hours, and Mr. Pourzand was detained at night.250

Siamak Pourzand was not informed of the charges against him and was not handed over to the
relevant court within 24 hours as prescribed by Article 123 of Iran’s Code of Criminal
Procedure.251 He was also denied legal representations of his choice, a right granted to every
Iranian citizen by Article 35 of Iranian Constitution252 and Article 185 of the Code of Criminal
Procedure.253

Siamak Pourzand was eventually tried primarily for offenses relating to his journalistic activities.
Article 168254 of the Iranian Constitution prescribes that press offenses shall be tried in public and
in the presence of a jury. Siamak Pourzand’s case was not heard by a jury.

Article 38255 of the Iranian Constitution prohibits all forms of mistreatment and torture carried out
for the purposes of extracting a confession. The Constitution invalidates testimony obtained by
compulsion or duress, and it prescribes a penalty for those violating this law. No disciplinary
action has been taken against those who coerced Siamak Pourzand’s confession, and his forced
testimony was admitted as evidence at his trial.

Siamak Pourzand’s trial did not meet the due process requirements of Iranian law in another
important respect. Article 55 of the Iran’s Code of Criminal Procedure states: “If a person has
committed multiple crimes that fall under the concurrent jurisdiction of the public courts,
revolutionary courts, and military courts, he or she should be tried first for the more serious crime
in a court that has jurisdiction over that crime and then he or she should be handed over to the
court that has jurisdiction over the lesser charge. Furthermore, if the crimes carry equal
punishments, the accused would be tried by relevant courts in order of offenses committed.”256
Judge Zafarqandi charged Siamak Pourzand with lesser offenses while keeping two more serious



handed back to the serving officer.” See AY’IN-I DADRASIYIH KAYFARI [Iran’s Code of Criminal Procedure], article
112.
249
    Iran’s Code of Criminal Procedure, article 119 states: “The accused shall be summoned by an arrest warrant. The
arrest warrant, which contains the reasons for the summons, must be read to the accused.” Id., article 119.
250
    Iran’s Code of Criminal Procedure, article 121 states: “Accused should be summoned during the day, except in the
case of an emergency.” Id., article 121.
251
    Iran’s Code of Criminal Procedure, article 123 states: “The accused shall be accompanied and monitored from the
time of summoning to the time he or she is presented to a judge. Comment: The officers are responsible for presenting
the summoned person immediately to a judge. The accused can only be detained if there is the possibility of flight or
the destruction of evidence; notwithstanding these two conditions, officers do not have the right to detain an individual
for more than 24 hours.” Id., article 123.
252
    Article 35 of the Iranian Constitution explains: “Both parties to a lawsuit have the right in all courts of law to select
an attorney, and if they are unable to do so, arrangements must be made to provide them with legal counsel.”
Constitution of Iran, supra note 4, article 35.
253
    Iran’s Code of Criminal Procedure, article 185: “All parties to a criminal dispute have the right to select and
introduce their own legal counsel(s) to a court of law. The date and the time of the court appearance will be announced
to the accused, plaintiffs, defendants and their attorneys. If the disputing parties have multiple lawyers, presence of one
lawyer from each side is sufficient for the court to proceed.” AY’IN-I DADRASIYIH KAYFARI [Iran’s Code of Criminal
Procedure], article 185.
254
    Iranian Constitution, article 168 states: “Political and press offenses will be tried openly and in the presence of a
jury, in courts of justice. The manner of the selection of the jury, its powers, and the definition of political offenses, will
be determined by law in accordance with the Islamic criteria.” Constitution of Iran, supra note 4, article 168 [Political
and Press Offenses].
255
    Article 38 of the Constitution states: “All forms of torture for the purpose of extracting confession or acquiring
information are forbidden. Compulsion of individuals to testify, confess, or take an oath is not permissible; and any
testimony, confession, or oath obtained under duress is devoid of value and credence. Violation of this article is liable
to punishment in accordance with the law.” Id., article 38.
256
    AY’IN-I DADRASIYIH KAYFARI [Iran’s Code of Criminal Procedure], article 55.


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charges – Maharib (at war with God) and Murtad (apostate) – suspended over him. This implicit
threat appears designed to compel Siamak Pourzand’s continued cooperation.

Finally, Siamak Pourzand was also held in an unknown location for an extended period of time
before he was brought to trial. Article 33 of the Iran’s Code of Criminal Procedure requires a
court order authorizing a suspect’s pre-trial detention beyond one month.257 Siamak Pourzand
was held for four months prior to trial without the required court authorization.

10.2. Violations of International Human Rights Law

The Pourzand case reveals a profound disregard for international due process norms and human
rights law on the part of the conservative clerical establishment in Iran. Siamak Pourzand was
subjected to arbitrary detention in contravention of Article 9 of the International Covenant of
Civil and Political Rights (ICCPR). Specifically, Siamak Pourzand was not informed of the
reasons for his arrest and was not promptly, or indeed accurately, informed of the charges against
him, a direct contravention of Article 9(2).

Article 10 of the ICCPR requires states to treat persons in detention with humanity and dignity.
The ill treatment described by Witness A to which Siamak Pourzand was subjected by his jailers
prior to his trial was a clear violation of Articles 10(1) and 10(2)(a). Furthermore, the use of stress
positions as a coercive tool in particular has been widely condemned as a breach of human rights.
Article 7 of the ICCPR prohibits torture and cruel, inhuman, and degrading treatment. Article 1 of
the Convention Against Torture (CAT) defines ‘torture’ as any act by which severe pain or
suffering, whether physical or mental, is intentionally inflicted on an individual for the purposes
of inter alia, gaining a confession. Although Iran is not a signatory to the CAT, freedom from
torture is an absolute right in customary international law and is not subject to derogation in any
circumstances.

Incommunicado detention – in which one is denied access to family, friends and others – has also
been identified by the UN Human Rights Committee, the international body of experts that
monitors the application of the ICCPR, as a potential breach of both Article 7 and Article 10 of
the Covenant. The shortest period of incommunicado detention found to be in breach of Article
10(1) by the Human Rights Committee was just fifteen days.258 Seven weeks passed before any
member of Siamak Pourzand’s family was allowed to see him, and even then they were not told
where he was being held. The Committee has also found that instances of forced disappearance
that last for eight months or more pass the threshold for “cruel and inhuman treatment”
established under Article 7.259 Siamak Pourzand was held in detention facilities operated by the
so-called ‘parallel institutions’ outside the official state prison system for 12 months after his
arrest.

Siamak Pourzand was denied a fair trial as defined by Article 14 of the ICCPR. He was not
brought to trial without “undue delay,” a violation of Article 14(3)(c). The manner in which the

257
    Iran’s Code of Criminal Procedure, article 33 states: “The arrest shall be ordered by a judge and approved by the
head of the district court or his deputy. The arrest could be appealed in the provincial court within 10 days. This review
will be conducted immediately. Either way, the status of the accused must be determined within a month. If the judge
deems it necessary to hold the accused in custody any longer, he must have the case reviewed as specified above.” Id.,
article 33.
258
    Arzuaga Gilboa v. Uruguay, U.N. Human Rights Comm., Commc'n No. 147/1983, U.N. Doc. CCPR/C/OP/2
(1990).
259
    Laureano v. Peru, U.N. Human Rights Comm., Commc'n No. 540/1993, U.N. Doc. CCPR/C/56/D/540/1993 (1996);
Tshishimbi v. Zaire, U.N. Human Rights Comm., Commc'n No. 542/1993, U.N. Doc. CCPR/C/53/D/542/1993 (1996).


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charges brought against him kept changing made it impossible for him to fully understand the
“nature and cause” of charges he faced, a violation of Article 14(3)(a). He was refused access to
a legal representative of his own choosing, a violation of Article 14(3)(d). He was not given the
opportunity to examine, or have examined, the witnesses against him, a violation of Article
14(3)(e). Most serious of all, he was forced to confess to crimes he had not committed in highly
coercive circumstances, a violation of Article 14(3)(g).

The United Nations Commission on Human Rights Working Group on Arbitrary Detention found
that Siamak Pourzand was prosecuted because of his convictions, and the expression of his
opinion highlights an additional violation of Article 19 of the ICCPR – his right to freedom of
expression.

In December 2006, the United Nations General Assembly formally adopted the International
Convention for the Protection of All Persons from Enforced Disappearance. Article 2 of the
Convention defines enforced disappearance as the “arrest, detention, abduction or any other form
of deprivation of liberty by agents of the State… followed by a refusal to acknowledge the
deprivation of liberty or by concealment of the fate or whereabouts of the disappeared person,
which place such a person outside the protection of the law.”260 The treatment suffered by Siamak
Pourzand meets the criteria for enforced disappearance established by the Convention.

Finally, Siamak Pourzand was denied any medical attention for an extended period, and he
suffered a heart attack while he was in prison. The denial of medical attention is a violation of
Article 12 of the International Covenant on Economic, Social and Cultural Rights, to which Iran
is also a State Party.

11. Conclusion
Siamak Pourzand’s case was at the center of a pivotal moment in recent Iranian history. He was
cynically framed by hard-line conservative elements within the Iranian political and judicial
establishment as a warning to others in the reform movement that the clerical establishment
would not allow them to liberalize conditions in the Islamic Republic.

The evidence manufactured against Siamak Pourzand and his subsequent confession, obtained in
circumstances which unquestionably amount to duress, were used to discredit the reformist media
and to divert attention away from legitimate calls for reform. The fact that Mr. Pourzand could be
linked, no matter how spuriously, to exiled monarchists through his first wife, and the reform
movement through his second wife, made him an ideal candidate for such a strategy.

In a wider sense, Siamak Pourzand’s treatment also discredits claims that the Islamic Republic
offers some democratic space for the people of Iran to influence events in their country. Despite
elections that invested the government of President Mohammad Khatami with a clear mandate to
implement reform, hard-line conservatives schemed and maneuvered to thwart the will of the
Iranian people. Siamak Pourzand was the innocent victim they exploited for this purpose.

Siamak Pourzand’s case also highlights the fragility of the rule of law inside the Islamic Republic
of Iran. Hard-line conservatives subverted the judicial system, stretched the jurisdictional
boundaries of Amaken beyond their intended limits, ignored the due process protections in the


260
   International Convention for the Protection of All Persons from Enforced Disappearance, opened for signature
February 6, 2007, U.N. Doc. A/RES/61/77, available at http://www2.ohchr.org/english/law/disappearance-
convention.htm (Iran is not yet a state party to the convention.)


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Iranian legal code, denied Siamak Pourzand’s right to amount a defense to the charges against
him, and paraded their victim before the cameras.

Siamak Pourzand began his ordeal as a secret prisoner, arbitrarily detained for purely political
reasons. He is now a very public victim of a callous regime that acts against its own citizens with
impunity. Arbitrary detention and televised confessions are the unmistakable tools of an
authoritarian state. The Pourzand case clearly exposes the lengths to which Iran’s clerical
establishment will go to hold on to power.




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Methodology
The IHRDC gathered information for this report from the following sources:

       •   Testimony of victims and witnesses. These include witness statements taken by
           IHRDC attorneys from former detainees of the secret prison system or their family
           members. We have withheld the names of two witnesses – witness A, who was a
           former member of the Iranian intelligence community, and witness B, who is still
           living inside Iran – at the witnesses’ request. The IHRDC has not spoken directly with
           Siamak Pourzand himself.

       •   Government documents. These include recorded public statements by state officials,
           court documents, official reports by organizations such as the United Nations
           Commission for Human Rights, statements released by Iranian government agencies,
           and published legal instruments.

       •   Documents issued by non-governmental organizations. These include reports and
           press releases written by organizations such as Human Rights Watch and Reporters
           Without Borders.

       •   Academic articles. These include the works of historians and political scientists who
           have written on the reform era.

       •   Media reporting. These include articles published in newspapers both inside Iran and
           in the foreign media.

       •   The IHRDC particularly wishes to thank the Library of Congress for its invaluable
           assistance in researching this project.

Where the report cites or relies on information provided by government actors or other involved
parties, it specifies the source of such information and evaluates the information in light of the
relative reliability of each source. The IHRDC has meticulously cross-checked all the sources of
information used to compiled this report to ensure their credibility and accuracy.

All names of places, people, organizations, etc. originally written in Farsi have been transliterated
using the system of the International Journal of Middle Eastern Studies (IJMES), available at
http://assets.cambridge.org/MES/mes_ifc.pdf. Under the IJMES system, names of places with an
accepted English spelling and names of prominent cultural or political figures may be spelled
according to the English norm.




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Abbreviations
AIC……………………………………………………………...American Iranian Council

CAT............................................................................................Convention Against Torture

ICCPR……………………………….International Covenant of Civil and Political Rights

IHRCI................................................................Islamic Human Rights Commission of Iran

IRGC…………………………………………..Iran Revolutionary Guard Council (Sepah)

IRIB………………………………………………..Islamic Republic of Iran Broadcasting

IRNA……………………………………………………...Islamic Republic News Agency

ISNA………………………………………………………..Iranian Student News Agency

NAJA…………………………………………………...Iranian Law Enforcement Agency

SAVAK...………………………………………….The former Shah’s intelligence service

SPO……………………………………………………………...State Prison Organization




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Appendix 3 – Namiyih Mehrangiz Kar bih Comission-i Asl-i Navad [Letter of Mrs. Mehrangiz Kar to the
             Article 90 Commission], (May 16, 2002)

Appendix 4 – Azadeh Pourzand letter to Khatami, Tell Me Where Is My Father, WASHINGTON POST,
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                          Appendix 2

 ISNA, Izharat-i Seyyed Ali Akbar Musavi Khu’ini
        Darbarihyih Vaz’iyat-i Zindanha va
   Bazdashtgahhayih Tehran [Ali Akbar Musavi
 Khu’ini, Majlis Representative, Makes Statement
  about Tehran’s Prison and Detention Facilities],
          07/27/1381, (October 19, 2002)

                    (Followed by Translation)
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Ali Akbar Musavi-Khu’ini, Majlis Representative, Makes Statement about Tehran’s Prison
and Detention Facilities

Iran Student News Agency – ISNA
Parliamentary correspondent

ISNA’s Parliamentary correspondent reports that Musavi-Khu’ini, the representative of the
people of Tehran in the Islamic Consultative Assembly (Majlis), spoke with the media today
about the situation of prisons and detention facilities in Tehran.

Musavi-Khu’ini stated: “As you know, various intelligence, security, military and law
enforcement agencies had special and sometimes secret detention facilities in the past. They were
not monitored and sometimes they created trouble. [For instance,] for long periods of time
families of the detainees had no information about them and there was not one individual
authority responsible and accountable for these locations. In fact, the law gives the State Prison
Organization (SPO) the responsibility to monitor and administer these prisons and requires each
prison to be registered with the SPO.”

Mentioning the names of some of these facilities, the representative of Tehran said: “To show his
eagerness to administer these facilities properly, Ali Younesi, the Minister of Intelligence, has
ordered that the Towhid prison be closed down. Henceforth, the Ministry of Intelligence will use
Evin prison for detaining suspects. Towhid prison has been converted into a museum for the
Ministry of Intelligence and it has been suggested to the Majlis that newspaper reporters can visit
this site.”

In reference to Prison 59, also known as Prison 59 of Ishratabad, which is administered by the
IRGC [the Iranian Revolutionary Guard Corps], Musavi-Khu’ini said: “Pursuant to several
inquiries, we reached an agreement in the Majlis with the authorized representative of the IRGC,
the Minister of Defense, and the SPO. The IRGC accepted the authority of the SPO and later it
was announced that Prison 59 would be closed when a security prison for IRGC is established in
Evin prison.

“According to the latest information, Prison 59 has been shut down, and like the Ministry of
Intelligence, the IRGC now keeps its detainees in Evin prison. An SPO officer has confirmed the
closing of Prison 59 and announced that no detainees had been seen in the facility during his visit.
Since the expiration of the deadline agreed to by the IRGC, it is now illegal to detain any person
in that facility. We welcome this move. We consider it a step toward the implementation of the
rule of law.”

Musavi-Khu’ini continued: “Hishmatiyih prison, located on the Qasr crossroads, was
administered by the Army. The SPO did not have access to it. After many meetings, an agreement
was signed between the Army and the SPO. Based on that agreement, this prison is now
administered by the SPO. The Army had no problem with the SPO overseeing the prison, but the
Army maintained an ownership claim to the property.”

The representative of Tehran referred to the visits of the Majlis delegates to the Law Enforcement
Agency (NAJA) detention facilities and said: “We visited the armed forces detention facilities.
We visited Natib prison, which is run by the Intelligence Protection Organization of NAJA. The
prison was in poor condition. NAJA considered it a temporary prison. A bill was passed last year
that allowed a budget for the facility to be purchased by the Foreign Ministry last year; therefore,
it is no longer active.”
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Musavi-Khu’ini mentioned a prison on Motahari Street: “It was a prison located in a basement on
two floors. At the time of our visit, we announced that it was an improper place for a detention
center. [Our recommendation] was supposed to be followed up. Unfortunately, the problem still
exists. There is serious confusion concerning the management of this facility. It has been
announced that this complex is managed by the Intelligence Protection Organization of the
Judiciary. The media has reported that many people have been summoned to this facility for
interrogation.”

The representative of Tehran further explained: “Recently I visited two other prisons with Mr.
Shams Wahabi, Mrs. Kolali and Mrs. Haqiqatjo, the three other representatives of Tehran. One of
these prisons was the office of the deputy of the Vice and Virtue Committee, known as ‘Vuzara.’
We had a meeting with Sardar Talai, head of Tehran police, and Sergeant Sadiqi, the new head of
this facility, about this prison. Sergeant Sadiqi discussed his plans for the facility. We hope that
he brings positive changes to this place.”

He continued: “We visited a second facility that was run by NAJA. It was located in the north of
Ishratabad military base and was used to detain criminals charged with drug offenses. We visited
the facility while the deforestation of the Louzan Jungle was taking place. We were accompanied
by judges and their assistants. We saw how hard the responsible authorities were working there at
the time.

“In addition to male wards, the prison had a female ward too. This ward was next to the cell in
which the founder of the Islamic Republic of Iran had been detained for a few days. This facility
was not a proper place to hold detainees, and the head of NAJA agreed with us. However, NAJA
could not relocate the detainees due to a budgeting problem. We had corresponded with the new
head of the anti-drug office and requested that he relocate the detainees to some other place. The
employees were also in a very difficult situation there [due to the budgeting problem].”

In reference to a visit by the representative of Tehran a few months earlier, Musavi-Khu’ini said:
“Because part of the problem of the prison lays with the wardens and the prison personnel, we
recommend that special attention be paid to the employees’ retirement, salary and living
conditions. We reached a positive agreement with Bakhtiyari, the head of the SPO, and Waiz
Mahdavi, deputy of President Strategic Planning and Control in regards to this issue.”

He expressed his appreciation for the Budget and Planning Commission because of their special
attention to the prison situation.

In reference to the women’s section in Evin prison, the representative of Tehran said: “Many
women have complained and criticized the judicial authority of the Irshad Judicial Center (Court).
The representatives were stunned and regretted these grievances.”

He continued: “The issue was discussed with the judicial authorities and they later announced that
the facility had been closed.” Musavi-Khu’ini did not elaborate about the nature of the women’s
complaints but expressed his gratitude for the quick response of the head of the judiciary.

He spoke of the detention centers for the Police Headquarters and the Central Office for Criminal
Investigation as being part of the plan of the Majlis representatives and welcomed the plan.

In response to a question concerning other special [secret] detention centers, he said: “With
respect to Ministry of Intelligence and the IRGC, we have received promises that they will close
their special detention facilities and transfer their detainees to Evin Prison. We hope that the
Intelligence Protection Organization of the Defense Ministry, the Intelligence Protection Center
of NAJA, and the Intelligence Protection Organization of the Army, which all have detention
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centers in the city, will do the same. This would be a good solution because the armed forces
would ensure the security and monitoring of the facility.”

In another part of his speech, Musavi Khu’ini talked about moving the prisons inside Tehran to
the outskirts of the city, and he noted that, at present, a lack of sufficient resources is preventing
the move. He also asserted that the most important of these moves would be the relocation of
Qasr prison to the southern outskirts of the city, which will be done gradually over time.

He also stated that another prison that must be moved to the outskirts is Hishmatiyih prison.

The representative of Tehran continued by referring to those prisoners who are charged with
financial offences and are awaiting the amendment of the Check Laws and the Legal provisions
for Yum al-Ada [Payment Day], stating: “A bill amending the Check Law has been presented to
the Majlis by the government and will soon be discussed in the Majlis. The law pertaining to Yum
al-Ada is faced with the problems expressed by the Guardian Council. However, we are hopeful
that the changes that will ultimately be made will address the needs of both the prisoners and
those individuals to whom the prisoner owes money.”

The representative of Tehran said that one of the major problems faced by political prisoners is
the absence of a legal distinction between political prisoners and ordinary criminals. He expressed
his dissatisfaction with the practice of holding both categories of prisoners in one location.

Regarding the university dormitory prisoners, Musavi Khu’ini said: “Akbar and Manuchehr
Mohammadi, Abbas Deldar, Mehrdad Lohrasbi, Javid Tehrani, and Ahmad Batebi are still in
prison, but we are hopeful that following the action taken on their behalf, especially by the
Organization of the Representatives of the Leader in the Universities, their release will soon be
secured.”

About the imprisoned Clergy, Musavi Khu’ini said: “Regarding Abdollah Nuri, it had been
anticipated that he would soon be freed, but because of opposition to his release, this expectation
has not been met. A new verdict has been issued for Yusofi Eshkevari, the reasons for which are
not yet clear.”

He also expressed his concerns regarding the treatment of Nassir Zarafshan, the lawyer
representing the victims of the Chain Murders.

Musavi Khu’ini spoke positively of a plan to have lawyers present in the Gendarmeries and said:
“During the past few years, the respect paid to our lawyers has diminished and their place in the
society has been weakened. We insist on repairing these slights and consider this plan to be a
positive one. In general, we consider the presence of the lawyers in places filled with suspects
who have no idea of their rights under the law to be very appropriate.”

Finally, Musavi Khu’ini praised the collaboration of the Judiciary, Sepah, the Armed forces, the
Law Enforcement Forces and the State Prison Organization.
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                           Appendix 3

    Namiyih Mehrangiz Kar bih Comission-i Asl-i
     Navad [Letter of Mrs. Mehrangiz Kar to the
      Article 90 Commission], (May 16, 2002)
                     (Followed by Translation)
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                    In the name of Allah, the Compassionate, the Merciful



                                                                Thursday, 26th of Ordibehesht 1381
                                                                                    [May 16, 2002]

Honorable members of the Article 90 Commission of the Islamic Consultative Assembly (Majlis)

As you are fully aware, it has been many months since I, Mehrangiz Kar, submitted a complaint
regarding the situation of my husband, Siamak Pourzand. The news published since inside Iran
has become more and more alarming, and the heavy silence of the legal body that has the
responsibility of publicly announcing the results of its investigation is a source of further concern.

Information received from inside Iran, as well as the publications of international organizations,
reveals that:

        Siamak Pourzand is slowly being tortured to death, in an unknown detention
        center, for crimes he has not committed. In the hands of his captors he is wasting
        away.

Seven months after Pourzand’s disappearance, and at a time when all hopes of his survival are
fading, Judge Saber Zafarqandi, honorable head of Branch 1610 of the General Courts that
operates under the title of Special Court of Mehrabad Airport, has announced that Pourzand is
being interrogated in a special military unit (apparently one without a name or an address) to
prove his crime of “being at war with God.” Reading the official news regarding this court in Iran
Newspaper (government’s tribune) is quite wondrous. It appears that in the case of Siamak
Pourzand all kinds of verdicts have been reached, and that from time to time, depending on the
prevailing conditions of the moment, one of them is published. Unfortunately, the honorable
attorney in charge of the case, who is appointed by the court, for reasons unbeknownst to us, has
become the bearer of the news of the verdicts issued by the court. Until a few days ago, the
emphasis was on the seven to eight years of imprisonment announced in Iran newspaper. Yet on
the 25th of Ordibehesht [May 15th], the tide changed and the verdict was changed to eleven years
imprisonment, various types of lashing, and finally, it changed to “at war with God” (using
threatening terminology only familiar to the more experienced amongst us.)

It appears that after 7 months those who prosecute the case have decided to start over and add the
crime of “at war with god” to the list of crimes, even though they have thus far not been able to
extract a false confession to this charge, even under pressure, so that they can have a legitimate
reason to execute him.

Apparently it was decided that, many years after its ratification, all the violent punishments in the
Islamic penal code should be vested upon a seventy-one year old man.

It seems as if Siamak Pourzand has been hidden in a cave for the twenty-four years since the
revolution and has just reappeared. Siamak Pourzand’s continuous presence in Iran and his open
activities in the cultural and press arenas have been ignored for years and now suddenly he has
been made the scapegoat for all the defeats and shortcomings of the past and must be hanged.

As a bar-certified attorney in Iran with twenty years’ experience in the legal, publishing and
cultural fields, I am well aware that you gentlemen face many obstacles from different groups and
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organizations as you try to pursue your mandate as Majlis Representatives (as per article 86 of the
Constitution), and fulfill your duties in the Majlis, perhaps to the point that your oversight role
has effectively been cancelled. I am fully aware that even the legitimate authorities do not
respond to your questions, let alone those illegal and arbitrary entities that everyone fears and is
careful not to provoke.

There may not be much that you can do against those who plant a rumor, blow it out of
proportion in their own press services, and then make a legal case out of the rumor. But this fact
does not diminish the rights of Siamak Pourzand and his daughters, nor does it explain your
profound silence.

Once more I warn you that if you do not exert a necessary effort to find out how this “rumor”
case was opened, [Pourzand’s] death at the hands of those holding him is inevitable.

We are now in the third decade of the revolution. The problems and ailments of the Iranian
society, Iran’s reputation abroad, and the importance of not allowing the term ‘national security’
to be abused, must force you, as representatives of the people, to break down the barriers that
exist between the privileged regime ‘insiders’ and those on the ‘outside’ Believe it, if you had
seen the Iranians all as equals, the reform movement would not have faced the obstacles it is
facing right now. Iran is a melting pot of opinions and thoughts, and it will get nowhere if we
continue to maintain these barriers.

Gentlemen:

You have succumbed to the agenda of those who are promoting these worthless rumors instead of
conducting a proper investigation. Part of this agenda is to demonstrate that Majlis representatives
are not capable of protecting the rights of citizens and the victims of violence, or of even sending
representatives to the location where these prisoners are being held.

Knowing that I ask for Siamak’s rights:

        What value can the evidence used have when the State Prison Organization
        claims to have no knowledge of Siamak Pourzand being held in the prisons under
        their jurisdiction (see Nourooz, 25/2/81, interview with the head of the State
        Prison Organization, Mr. Bakhtiyari) – especially when Judge Zafarqandi plainly
        stated that [Pourzand] was being held by the State Prison Organization? How can
        this contradiction be explained?

Gentlemen:

Siamak Pourzand is a victim of a deliberate policy of elimination. The scenario was written and
plans were laid many years ago. The media collaborating with this policy have even gone after
his family and have accused them of all types of wrong and have threatened to ruin their public
reputation. All these accusations were somehow squeezed in the verdict issued by judge
Zafarqandi.

I warn you one last time that those carrying out the elimination policy have decided to place
Siamak Pourzand at the heart of their plan and to use his confessions (meaning the confessions of
a seventy-one-year-old man who, after seven months of custody and all kinds of psychological
pressures, is fading away and who even now they are squeezing to confess to being “at war with
god” so that they can justify his execution) to deliver a group of Iranian cultural and press
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activists into their power. The names of these people have been part of this program of
elimination from the beginning, but it is being portrayed as if Pourzand mentioned them in his
confessions. Even if Pourzand did name them, it would have been under the direction of his
interrogators, through torture. I hope that, if the honorable members of the Article 90
Commission are not able to deliver the dying Pourzand from the clutches of those who act with
such impunity and return him to his daughters, they are at least able to exert enough pressure to
prevent the coming catastrophe that threatens to engulf the entire cultural community.

In spite of the obstacles, I hope that you will fulfill your duties and responsibilities, as noted by
the constitution and supported by people’s vote, and think ever more about your mission.
Remember the oath of office that you have taken; time is short.



                                          Respectfully,

                                                  Mehrangiz Kar [signed]
                                                  Bar Certified Barrister
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                           Appendix 4

      Azadeh Pourzand letter to Khatami, Tell Me
       Where Is My Father, WASHINGTON POST,
                (December 30, 2001)
              (Followed by Farsi version of the letter)
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The Aadel Collection

Aadel is the Persian word for “just.” The Aadel Collection is a growing repository of
documents recovered by the IHRDC that relate to human rights issues in Iran. This archive,
dedicated to the victims of human rights abuse, promotes accountability by facilitating
research on human rights violations in Iran.

The IHRDC accepts documents and multimedia materials relating to human rights in Iran
from donors around the world. The IHRDC has a secure storage facility to accommodate
more sensitive documents.

The Center takes full responsibility for authenticating all documents archived in the Aadel
Collection. We do not archive documents that we cannot authenticate.

Selected material from the Aadel Collection can be accessed through the Center’s online
database at www.IranHRDC.org.

To submit materials      to   the   Aadel   Collection,   please   contact   the   Center   at
info@IranHRDC.org.
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